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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

KEN PAXTON, in his official capacity as    §
Attorney General of Texas,                 §
DAVID SCHNITZ,                             §
TRACY MARTIN, and                          §
FLOICE ALLEN,                              §
      Plaintiffs,                          §
                                           §
v.                                         §   Civil Action No. 4:22-cv-00143-P
                                           §
STEVEN M. DETTELBACH, in his               §
Official Capacity as Director, Bureau of   §
Alcohol, Tobacco, Firearms and Explosives, §
and                                        §
MERRICK B. GARLAND, in his                 §
Official Capacity as Attorney General      §
of the United States,                      §
       Defendants.                         §



                   PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR
                     MOTION FOR SUMMARY JUDGMENT
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TO THE HONORABLE MARK T. PITTMAN, U.S. DISTRICT JUDGE:

     Plaintiffs, Ken Paxton, in his official capacity as Attorney General of Texas, David Schnitz,

Tracy Martin, and Floice Allen, file this Brief in Support of their Motion for Summary Judgment,

and will respectfully show the Court as follows:

                                      INTRODUCTION

     New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022) establishes a new test

for the constitutionality of firearm regulations. Just four days ago, the Fifth Circuit held that Bruen

“clearly fundamentally changed our analysis of laws that implicate the Second Amendment,

rendering prior precedent obsolete.” United States v. Rahimi, No. 21-11001, 2023 WL 1459240, at

*3 (5th Cir. Feb. 2, 2023) (cleaned up, citation omitted). Bruen requires courts to re-evaluate

Second Amendment jurisprudence. Id. at *1.

     The National Firearms Act of 1934 (NFA) was amended in 1968 to regulate (for the first time)

the making of firearm suppressors for non-commercial, personal use in Texas. But Defendants

cannot demonstrate any historical tradition that can be analogized to any feature of the regulatory

regime that applies to the making of firearm suppressors for non-commercial, personal use in

Texas. Bruen, 142 S. Ct. at 2126. Therefore, the statutes establishing that regulatory regime, and

Defendants’ rules and practices implementing and enforcing that regulatory regime, are

unconstitutional. See also Rahimi at *10 (holding that “[t]he Government fails to demonstrate that

18 U.S.C. § 922(g)(8)’s restriction of the Second Amendment right fits within our Nation’s

historical tradition of firearm regulation…. As a result, § 922(g)(8) falls outside the class of firearm

regulations countenanced by the Second Amendment.”).




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      Moreover, Plaintiffs have standing, and the Anti-Injunction Act does not bar injunctive relief.

The Court should grant summary judgment in Plaintiffs’ favor.

                     FACTUAL AND LEGAL BACKGROUND

I.    Firearm suppressors

      Firearm suppressors were invented by Hiram Percy Maxim in the first decade of the 20th

century. He also invented the car engine muffler and mufflers for loud factory equipment around

the same time. Firearm suppressors and car engine mufflers operate on similar principles. Loud

noise results from hot gasses exiting the muzzle of a gun or the exhaust pipe of an automobile.

Firearm suppressors and car engine mufflers cause the escaping hot gas to swirl and cool, lowering

the volume of the noise. Stephen P. Halbrook, Firearm Sound Moderators: Issues of Criminalization

and the Second Amendment, 46 Cumb. L. Rev. 35, 41–42 (2016) (“Halbrook”); FIREARMS LAW AND

THE SECOND AMENDMENT: REGULATION, RIGHTS, AND POLICY, NICHOLAS J. JOHNSON, ET AL., at


557–58 (3rd ed. 2021) (“Firearms Law and the Second Amendment”); HIRAM PERCY MAXIM,

ALICE CLINK SCHUMACHER (1998) at 48–53.

      “The terms ‘firearm silencer’ and ‘firearm muffler’ mean any device for silencing, muffling,

or diminishing the report of a portable firearm, including any combination of parts, designed or

redesigned, and intended for use in assembling or fabricating a firearm silencer or firearm muffler,

and any part intended only for use in such assembly or fabrication.” 26 U.S.C § 5845(a)(7); 18

U.S.C. § 921(a)(25).

      To “diminish[] the report of a portable firearm” is to make it quieter when fired. See United

States v. Syverson, 90 F.3d 227, 229 (7th Cir. 1996) (the government “introduced evidence showing

that Syverson had knowingly possessed the cylinder and that it could be used to reduce the report

of a pistol from 151 decibels to 144.5.”).
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     “[T]he term ‘silencer’ is a misnomer, in that—despite movie fantasies—a noise suppressor

reduces decibels, but does not actually ‘silence’ the discharge of a firearm. Noise may be muffled

or diminished, and maybe only by a few decibels at that, but it can still be heard.” Halbrook, supra,

at 36.

     “Firearm silencers” or “firearm mufflers” are also commonly known as “firearm

suppressors,” or simply “suppressors,” “silencers,” or “mufflers.” See United States v. Bolatete,

977 F.3d 1022, 1028 (11th Cir. 2020) (referring to “suppressors or silencers (which are the same

thing)”); United States v. Taylor, 100 Fed. Appx. 305, 307 (5th Cir. 2004) (irrelevant subsequent

history omitted) (“Taylor admitted that he had tried to make silencers with the help of a book

entitled ‘How to Build Practical Firearms Suppressors: an Illustrated Step-by-Step Guide.’”).

Plaintiffs will use the term “firearm suppressor” in this Brief, and intend that term to have the

same meaning as “suppressor,” “firearm silencer,” “silencer,” “firearm muffler,” and

“muffler.”

     Firearm suppressors are widely accepted and very infrequently used in criminal activity. As

Ronald Turk, former second in command of the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“BATFE”) (the agency responsible for enforcing federal law regulating firearm

suppressors) stated in 2017.

    In the past several years, opinions about silencers have changed across the United States.
    Their use to reduce noise at shooting ranges and applications within the sporting and
    hunting industry are now well recognized. At present, 42 states generally allow silencers to
    be used for sporting purposes….

    While DOJ and ATF have historically not supported removal of items from the NFA
    [National Firearms Act], the change in public acceptance of silencers arguably indicates
    that the reason for their inclusion in the NFA is archaic and historical reluctance to
    removing them from the NFA should be reevaluated. ATF’s experience with the criminal
    use of silencers also supports reassessing their inclusion in the NFA. On average in the past

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     10 years, ATF has only recommended 44 defendants a year for prosecution on silencer-
     related violations; of those, only approximately 6 of the defendants had prior felony
     convictions. Moreover, consistent with this low number of prosecution referrals, silencers
     are very rarely used in criminal shootings. Given the lack of criminality associated with
     silencers, it is reasonable to conclude that they should not be viewed as a threat to public
     safety necessitating NFA classification, and should be considered for reclassification under
     the GCA [Gun Control Act, which does not regulate the making of firearm suppressors].

Exhibit 1, Options to Reduce or Modify Firearms Regulations, White Paper (Not for public

distribution), Ronald Turk, Associate Deputy Director (Chief Operating Officer), Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF), January 20, 2017, at 6–7.

      The National Hearing Conservation Association (NHCA) Task Force on Prevention of

Noise-Induced Hearing Loss from Firearm Noise recommend the use of firearm suppressors as a

strategy to reduce the risk of acquiring noise induced hearing loss.1 The CDC agrees, stating: “The

only potentially effective noise control method to reduce … noise exposure from gunfire is through

the use of noise suppressors that can be attached to the end of the gun barrel.” 2 In addition to

reducing noise, firearm suppressors also reduce recoil, allowing shooters better control over their

weapon and leading to improved accuracy and better shot placement.

      There are over 2.6 million firearm suppressors registered in the United States, including over

500,000 registered in Texas. BATFE, Firearms Commerce in the United States, Annual Statistical

Update 2021, at 16. They are legal to possess in 42 states, including Texas. Firearms Law and the

Second Amendment at 600.


1Michael Stewart et al, NHCA Position Statement Recreational Firearm Noise (2017), available at
https://www.hearingconservation.org/assets/docs/NHCA_position_paper_on_firea.pdf
(accessed July 15, 2022).
2Lilia Chen & Scott E. Brueck, Cender for Disease Control and Prevention National Institute for
Occupational Safety and Health, Noise and Lead Exposures at an Outdoor Firing Range—California
(2011),      available      at:       https://americansuppressorassociation.com/wp_asa/wp-
content/uploads/2017/01/CDC-Study-California-Firing-Ranges.pdf (accessed July 15, 2022).
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      In short, firearm suppressors are in common use and are neither dangerous nor unusual.

II.   Federal law

      As one scholar has written, “Devices to reduce noise at its source are ubiquitous in modern

society. But imagine if you had to register with the government, obtain permission of law

enforcement, submit fingerprints, and pay a $200 tax in order to have a muffler on your automobile

or lawn mower. You have to do exactly that to obtain a device to muffle the noise from your firearm,

and if you fail to do so, you can be imprisoned for ten years.” Halbrook, supra, at 35 (footnotes

omitted).

        A.   Federal law defines firearm suppressors as “firearms” and regulates them under
             the NFA.

      The NFA has regulated the commercial importation and manufacture for sale or disposition

of firearm suppressors since 1934. 3 In 1968, those regulations were extended for the first time to

making firearm suppressors for non-commercial, personal use. 4 Since then, it has been illegal to

make a firearm suppressor for non-commercial, personal use without first requesting permission,

and, if granted, paying a $200 tax, registering the firearm suppressor, and marking the firearm

suppressor with a serial number.

      “While the National Firearms Act of 1934 is based on Congress’s tax power and only covered

[a] small fraction of the American gun supply [including firearm suppressors], the Gun Control

Act of 1968 applies to all firearms manufactured after 1898 and is based on the interstate commerce

power.” Firearms Law and the Second Amendment, supra, at 660.



348 Stat. 1236 (1934) (commonly known as the “National Firearms Acts of 1934” or the “NFA,”
as originally enacted).
4 82 Stat. 226 (1968), Title II (amending the National Firearms Act of 1934). Title I of 82 Stat. 226
is commonly known as the “Gun Control Act of 1968” or “GCA.”
                                                 5
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      The NFA defines “firearms” as eight categories of things, including, generally, short-barreled

shotguns, short-barreled rifles, machine guns, “destructive devices” (such as explosives, artillery,

and missiles), and firearm suppressors. 26 U.S.C. § 5845(a). Note that the NFA explicitly defines

firearm suppressors as “firearms.” 26 U.S.C. § 5845(a)(7).

      Firearms regulated by the NFA are regulated more strictly than firearms regulated by the

GCA. As BATFE acknowledges, the GCA does not regulate making firearms (including firearm

suppressors) for non-commercial, personal use at all, but “the making of an NFA firearm [i.e.

firearms covered by the NFA] requires a tax payment and advance approval by ATF.” 5 “By being

defined as a ‘firearm’ in the NFA, a [firearm] suppressor is subject to the same strict requirements

involving registration, taxation, and approval by the government that apply to machines guns and

artillery.” Halbrook, supra, at 39. The NFA requirements are detailed below.

      Although the NFA is a tax statute located in the Internal Revenue Code, its references to “the

Secretary” means the Attorney General. 26 U.S.C. § 7801(a)(2)(A)(i). BATFE, part of the

Department of Justice, enforces the NFA. 28 U.S.C. § 599A; 28 C.F.R. § 0.130(a)(2).

        B.    The NFA prohibits Texans from making firearm suppressors for non-
              commercial, personal use in Texas without first applying for and receiving the
              approval of BATFE.

      Under the NFA, “[t]he term ‘make’, and the various derivatives of such word, shall include

manufacturing (other than by one qualified to engage in such business under this chapter), putting

together, altering, any combination of these, or otherwise producing a [firearm suppressor].” 26

U.S.C. § 5845(i); Compare to 26 U.S.C. § 5845(m) (“The term “manufacturer” means any person

who is engaged in the business of manufacturing [firearm suppressors].)” Thus, under federal law,


5https://www.atf.gov/firearms/qa/does-individual-need-license-make-firearm-personal-use (last
accessed July 15, 2022).
                                                 6
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a person “makes” a firearm suppressor if it is intended for non-commercial, personal use, but

“manufactures” a firearm suppressor if it is intended for sale.

    “No person shall make a [firearm suppressor] unless he has (a) filed with the Secretary a

written application, in duplicate, to make and register the [firearm suppressor] on the form

prescribed by the Secretary; (b) paid any tax payable on the making and such payment is evidenced

by the proper stamp affixed to the original application form; (c) identified the [firearm suppressor]

to be made in the application form in such manner as the Secretary may by regulations prescribe;

(d) identified himself in the application form in such manner as the Secretary may by regulations

prescribe, except that, if such person is an individual, the identification must include his

fingerprints and his photograph; and (e) obtained the approval of the Secretary to make and register

the [firearm suppressor] and the application form shows such approval. Applications shall be

denied if the making or possession of the [firearm suppressor] would place the person making the

[firearm suppressor] in violation of law.” 26 U.S.C. § 5822.

    “The application to make a firearm, Form 1 (Firearms), must be forwarded directly, in

duplicate, by the maker of the firearm to the Director in accordance with the instructions on the

form.” 27 C.F.R. §479.64. A copy of Form 1 is attached as Exhibit 2.

    The Form 1 must be “executed under the penalties of perjury,” and submitted along with

$200. 27 C.F.R. § 479.62(b)(1).

    “[On the Form 1,] the applicant shall provide the applicant’s name, address, and date of birth,

and also comply with the identification requirements prescribed in § 479.63(a).” 27 C.F.R.

§ 479.62(b)(2).




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     “If the applicant is an individual, the applicant shall [on the Form 1] (1) Securely attach to

each copy of the Form 1, in the space provided on the form, a 2 x 2-inch photograph of the

applicant, clearly showing a full front view of the features of the applicant with head bare, with the

distance from the top of the head to the point of the chin approximately 1 1/4 inches, and which

shall have been taken within 1 year prior to the date of the application; and (2) Attach to the

application two properly completed FBI Forms FD-258 (Fingerprint Card). The fingerprints must

be clear for accurate classification and should be taken by someone properly equipped to take

them.” 27 C.F.R. § 479.63(a).

     An applicant who wishes to make a firearm suppressor for non-commercial, personal use must

also include on the Form 1 “[a] description of the [firearm suppressor] to be made by type; caliber,

gauge, or size; model; length of barrel; serial number; other marks of identification.” 27 C.F.R.

§ 479.62(b)(3).

     The applicant must also provide “[t]he applicant’s Federal firearms license number (if any)”

and “special (occupational) tax stamp (if applicable).” 27 C.F.R. § 479.62(b)(4), (5). But a Federal

firearms license is not required to make a firearm suppressor.

     “If the applicant … is an alien admitted under a nonimmigrant visa, applicable documentation

demonstrating that the nonimmigrant alien” is allowed to possess a firearm suppressor. 27

C.F.R.§ 479.62(b)(6).

     The rules also provide, “Prior to the submission of the application to the Director, all

applicants … shall forward a completed copy of Form 1 … to the chief law enforcement officer of

the locality in which the applicant … is located. The chief law enforcement officer is the local chief

of police, county sheriff, head of the State police, or State or local district attorney or prosecutor.”



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27 C.F.R. § 479.62(c). The chief law enforcement officer is not required to do anything at all upon

receipt of a Form 1. This regulation has no statutory authority whatsoever.

     Although not required by statute or rule, the ATF Form 1 has a line for the applicant to submit

his or her social security number under the instruction: “A maker who is an individual must

complete this Section.” However, the line refers to “instruction 2f,” which states that the social

security number is not required but that “refusal to provide this information may result in a delay

in the NICS background check process.” Exhibit 2.

    Although not required by statute or rule, the ATF Form 1 also requires the applicant to

identify his or her race and ethnicity. Exhibit 2.

    “If the application is approved, the Director will affix a National Firearms Act stamp to the

original application in the space provided therefor and properly cancel the stamp. The approved

application will then be returned to the applicant.” 27 C.F.R. § 479.62(d).

    “The Director will consider the application for approval or disapproval. If the application is

approved, the Director will return the original thereof to the maker of the firearm and retain the

duplicate. Upon receipt of the approved application, the maker is authorized to make the firearm

described therein. The maker of the firearm shall not, under any circumstances, make the firearm

until the application, satisfactorily executed, has been forwarded to the Director and has been

approved and returned by the Director with the National Firearms Act stamp affixed.” 27 C.F.R.

§ 479.64.

    “An application to make a firearm shall not be approved by the Director if the making or

possession of the firearm would place the person making the firearm in violation of law.” 27 C.F.R.

§ 479.65. “If the application is disapproved, the original Form 1 (Firearms) and the remittance



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submitted by the applicant for the purchase of the stamp [$200] will be returned to the applicant

with the reason for disapproval stated on the form.” 27 C.F.R. § 479.64. The rules do not provide

for an appeal of BATFE’s decision.

    BATFE reports that current (last update January 6, 2023) Form 1 average processing times

are 45 days for paper submissions and 30 days for efiled submissions.6

    Plaintiffs filed this lawsuit on February 24, 2022.

    Defendants admit that BATFE denied approximately 845 Form 1 applications to make

firearms suppressors on February 28, 2022. Defendants’ Answer at ¶ 80.

    Defendants admit that BATFE sent a letter to approximately 1,901 email addresses associated

with pending Form 1 applications on March 3, 2022, stating:

   Dear eForm applicant:

   The National Firearms Act (NFA) Division received your ATF eForm 1, Application to
   Make and Register a Firearm. As part of the application process, NFA Division must confirm
   that the making or possession of a firearm would not place the applicant in violation of the
   law [footnote omitted].

   NFA Division requests that you provide certain additional information so that it may
   determine whether your eForm 1 application to make a silencer may lawfully be approved.
   Specifically, please submit to NFA Division the following:

       •   Pictures of the parts that you will use to make the silencer (the pictures should be
           clear and allow identification of the parts photographed);

       •   A description of the process you will use to assemble or fabricate the silencer;

       •   The product, model or kit name, if any, of each device and/or part that you will use
           to make the silencer; and

       •   The source from which the parts were obtained, i.e. the name of the store, website,
           etc.

6 Current Processing Times, BATFE, atf.gov/resource-center/current-processing-times (last visited

Feb. 6, 2023).
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   … Without the additional descriptive information, NFA Division will be unable to
   determined whether the eForm 1 application to make a silencer may lawfully be approved.
   Therefore, failure to submit the requested information by March 25, 2022 will result in
   your application being disapproved and your $200 making tax refunded [emphasis in
   original].

Defendants’ Answer at ¶ 81.

    No statute, regulation, or instruction on the Form 1 requires that applicants provide this

“additional information.”

    Recall that 18 U.S.C. § 921(a)(25) defines “any part intended only for use in” “assembling or

fabricating a [firearm suppressor]” as a firearm suppressor. BATFE’s March 3, 2022 email

required applicant to submit “[p]ictures of the parts that you will use to make the silencer (the

pictures should be clear and allow identification of the parts photographed).” But under

§ 921(a)(25), those parts are themselves firearm suppressors that the applicant cannot possess

until BATFE has granted permission. Persons possessing firearm suppressor parts without

BATFE’s permission are subject to ten years in prison. See Part II.F., infra. Incredibly, by requiring

applicants to provide this “additional information,” BATFE requires applicants incriminate

themselves by disclosing possession of parts without BATFE’s prior permission.

    By statute, BATFE cannot use this information “directly or indirectly, as evidence against

that person in a criminal proceeding with respect to a violation of law occurring prior to or

concurrently with the filing of the application or registration,” 26 U.S.C. § 5848(a), but can use

this information “in a prosecution or other action under any applicable provision of law with

respect to the furnishing of false information,” 26 U.S.C. § 5848(b). But nothing prohibits BATFE

from using this information to deny the application—from which there is no appeal.




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       C.    The NFA requires Texans who make a suppressor in Texas for non-commercial,
             personal use in Texas to pay a tax of $200.

     The tax on making firearms suppressors and other “firearms” regulated under the National

Firearms Act of 1934 is $200. “There shall be levied, collected, and paid upon the making of a

[firearm suppressor] a tax at the rate of $200 for each firearm made.” 26 U.S.C. § 5821(a). “The

tax imposed by subsection (a) of this section shall be paid by the person making the [firearm

suppressor].” 26 U.S.C. § 5821(b). “The tax imposed by subsection (a) of this section shall be

payable by the stamp prescribed for payment by the Secretary.” 26 U.S.C. § 5821(c). “Payment of

the tax on the making of a firearm shall be represented by a $200 adhesive stamp bearing the words

‘National Firearms Act.’ The stamps are maintained by the Director.” 27 C.F.R. § 479.61.

     In 1934, the $200 amount “was decided because that was the average cost of a machine gun,

and a 100% tax would thereby be imposed.” Halbrook, supra, at 50; Firearms Law and the Second

Amendment at 571. Before the enactment of the Firearms Act of 1934, a firearm suppressor cost

about five dollars. Halbrook, supra, at 50. The amount of the tax—$200—has not changed since

1934. Firearms Law and the Second Amendment at 578.

       D.    All newly made firearm suppressors must be registered—including those made
             by Texans for non-commercial, personal use in Texas.

     When BATFE approves an application, it simultaneously registers the firearm suppressor in

the National Firearms Registration and Transfer Record. 26 U.S.C. § 5841(a). “The registry shall

include (1) identification of the [firearm suppressor]; (2) date of registration; and (3) identification

and address of person entitled to possession of the [firearm suppressor].” Id.

     “Each … maker … of a [firearm suppressor] shall, prior to … making a [firearm suppressor],

obtain authorization in such manner as required by this chapter or regulations issued thereunder

to … make … the [firearm suppressor], and such authorization shall effect the registration of the

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[firearm suppressor] required by this section.” 26 U.S.C. § 5841(c). “The approval by the Director

of an application, Form 1 (Firearms), to make a firearm under this subpart shall effectuate

registration of the firearm described in the Form 1 (Firearms) to the person making the firearm.”

27 C.F.R. § 479.71.

    “A person possessing a [firearm suppressor] registered as required by this section shall retain

proof of registration which shall be made available to the Secretary upon request.” 26 U.S.C.

§ 5841(e). “The original Form 1 (Firearms) showing approval by the Director shall be retained by

the maker to establish proof of his registration of the firearm described therein, and shall be made

available to any ATF officer on request.” 27 C.F.R. § 479.71.

       E.    All firearm suppressors must be marked with an individual serial number—
             including those made by Texans for non-commercial, personal use in Texas.

    Once BATFE approves an application, the firearm suppressor must have a serial number.

    “[A]nyone making a [firearm suppressor] shall identify each [firearm suppressor] … by a

serial number which may not be readily removed, obliterated, or altered, the name of the … maker,

and such other identification as the Secretary may by regulations prescribe.” 26 U.S.C. § 5842(a).

Federal regulations contain detailed requirements for how the serial number must be placed on the

firearm suppressor. 27 C.F.R. § 479.102.

       F.    Prohibited acts and penalties for makers of firearm suppressors

    It is unlawful for any person to

       •    “possess a [firearm suppressor] made in violation of the provisions of this chapter;”

       •    “possess a [firearm suppressor] which is not registered to him in the National Firearms

            Registration and Transfer Record;”

       •    “make a [firearm suppressor] in violation of the provisions of this chapter;” or


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        •   “possess a [firearm suppressor] which is not identified by a serial number as required

            by this chapter.”

26 U.S.C. § 5861(c), (d), (f), (i).

     The penalties for any of the above violations are a fine not more than $10,000, imprisonment

for not more than ten years, or both. 26 U.S.C. § 5871. And “[a]ny [firearm suppressor] involved

in any violation of the provisions of this chapter shall be subject to seizure and forfeiture.” 26

U.S.C. § 5872.

     Thus, a person who makes or possesses a firearm suppressor in Texas for non-commercial,

personal use in Texas without first obtaining BATFE’s advance permission, without paying the

$200 tax, without registering it, or without engraving a unique serial number on the suppressor

faces ten years imprisonment, a fine of not more than $10,000, or both.

III. Parties

     Plaintiff Ken Paxton is the Attorney General of Texas. The State of Texas is a sovereign state

of the United States. “[A] State has a quasi-sovereign interest in the health and well-being—both

physical and economic of its residents in general.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458

U.S. 592, 607 (1982). The unconstitutional regulation of firearm suppressors adversely affects

Texans’ health and well-being by delaying or prohibiting Texans’ ability to use firearm suppressors

(by 30 or 45 days, even when the application if approved) for the purpose of home defense.

    Plaintiffs Schnitz, Martin, and Allen are Texas citizens who wish to make firearm suppressors

for their own non-commercial, personal use in Texas. They wish to retain possession of the firearm

suppressors that they would like to make. They do not wish to sell the firearm suppressor they

would like to make. Exhibit 3, 4, 5.



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    Defendant Stephen Dettelbach is the Director of BATFE. BATFE is responsible for enforcing

those parts of the NFA that apply to Texans who make firearm suppressors for non-commercial,

personal use in Texas, including the requirements that they apply for and receive permission to

make a firearm suppressor for non-commercial, personal use in Texas (Count I), pay a $200 tax on

making firearm suppressors for non-commercial, personal use in Texas (Count II), and register

and place a serial number on firearm suppressors made in Texas for non-commercial, personal use

in Texas (Counts III and IV).

    Defendant Merrick B. Garland, Attorney General of the United States is the Attorney General

and is responsible for prosecuting criminal violations of those requirements.

                                PROCEDURAL HISTORY

    Plaintiffs sued Stephen Dettelbach, Director of BATFE, and Merrick B. Garland, Attorney

General of the United States, in their official capacities. Plaintiffs seek injunctive relief against

enforcement of the requirements that they apply for and receive permission to make a firearm

suppressor for non-commercial, personal use in Texas (Count I), pay a $200 tax on making firearm

suppressors for non-commercial, personal use in Texas (Count II), and register and place a serial

number on firearm suppressors made in Texas for non-commercial, personal use in Texas (Counts

III and IV). See Plaintiff’s Second Amended Complaint (Dkt. #21).

    Plaintiffs are not challenging other parts of the NFA or the GCA. For instance, Plaintiffs are

not challenging regulations of rifles or handguns not regulated by the NFA. They are not

challenging regulation of weapons regulated by the NFA other than firearm suppressors. Plaintiffs

are also not challenging commercial regulations, such as regulations of transferring weapons in or

manufacturing weapons for interstate commerce, or licensing regulations.



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    The Court denied Plaintiffs’ request to take discovery and ordered that the case be submitted

on cross-motions for summary judgment.

                            STATEMENT OF THE ISSUES

1. Do Plaintiffs have standing?

2. Does the Anti-Injunction Act bar Plaintiffs’ claims?

3. Are the challenged statutes unconstitutional?

                                 STANDARD OF REVIEW

     Summary judgment is appropriate where the movant demonstrates “there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a); see Six Dimensions, Inc. v. Perficient, Inc., 969 F.3d 219, 224 (5th Cir. 2020).

                          ARGUMENT AND AUTHORITIES

I. The parties have standing.

        A. Texas has standing.

     “[A] State has a quasi-sovereign interest in the health and well-being—both physical and

economic of its residents in general.” Alfred L. Snapp & Son, 458 U.S.at 607.

     The unconstitutional regulation of firearm suppressors adversely affects Texans’ health and

well-being by delaying (by 30 or 45 days when the application is approved) or prohibiting (when

the application is not approved) Texans’ ability to use firearm suppressors for the purpose of home

defense, as demonstrated by the affidavits of Plaintiffs Schnitz, Martin, and Allen. Exhibit 3, 4, 5.

Therefore, Texas has standing to vindicate its quasi-sovereign interests in its citizens’ health and

well-being.

     Texas’s quasi-sovereign interests in the health and safety of its citizens exist independently of

the statute directing the Attorney General to file this lawsuit. The statute does not manufacture a

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lawsuit. Instead, it sets out the State’s policy in favor of the use of firearms suppressors and directs

the Attorney General to vindicate Texas’s independently existing quasi-sovereign interests in

promoting that policy in federal court.

       “[T]here is a critical difference between allowing a State to protect her citizens from the

operation of federal statutes (which is what [Massachusetts v. Mellon, 262 U.S. 447 (1923)]

prohibits) and allowing a State to assert its rights under federal law (which it has standing to do).”

Massachusetts v. E.P.A., 549 U.S. 497, 520 n.17 (2007) (internal quotation marks omitted). Texas

is asserting its right to vindicate its quasi-sovereign interests in the health and well-being of its

citizens.

          B.   Schnitz, Martin, and Allen have standing.

       The federal government prosecutes people for illegal possession of firearm suppressors.7 At

least one citizen was convicted of making silencers that state law declared legal. 8




7   Many examples can be found through a simple internet search. Some examples:
     • Holdrege man sentenced to 30 months imprisonment for unlawful possession of a silencer, KHGI
        Nebraska TV (Feb. 3, 2020), https://nebraska.tv/news/local/holdrege-man-sentenced-
        to-30-months-imprisonment-for-unlawful-possession-of-a-silencer.
     • Falls City woman gets probation for selling unregistered silencer on Facebook, News Channel
        Nebraska (Aug. 6, 2022), http://rivercountry.newschannelnebraska.com/story/4704
        4716/falls-city-woman-gets-probation-for-selling-unregistered-silencer-on-facebook.
     • Press Release, Jacksonville Man Charged With Illegal Possession Of A Silencer, BATFE (Dec.
        4, 2017), https://www.justice.gov/usao-mdfl/pr/jacksonville-man-charged-illegal-posse
        ssion-silencer.
     • Press Release, Ordering Silencers Delivers Federal Prison Sentence, BATFE (Sept. 10, 2021),
        http://justice.gov/usao-co/pr/ordering-silencers-delivers-federal-prison-sentence.
8 Roxana Hegeman, Kansas man's homemade gun silencers clash with federal law, KSL Salt Lake City
(Nov. 21, 2021), http:// https://www.ksl.com/article/42298980/kansas-mans-homemade-gun-
silencers-clash-with-federal-law.
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    On July 28, 2021, BATFE issued an “open letter” stating that “because [Chapter 2 of the

Texas Government Code] directly conflicts with federal firearms laws and regulations, federal law

supersedes [Chapter 2]. In summary, all provisions of the Gun Control Act (GCA) and the

National Firearms Act (NFA), including their corresponding regulations, continue to apply to

[federal firearms licensees] and other persons in Texas.” Exhibit 6 (emphasis added).

    Consequently, Plaintiffs Schnitz, Martin, and Allen reasonably fear enforcement of the

challenged statutes. When an individual is subject to threatened enforcement of a law, they have

an Article III injury. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158–59 (2014). When an

individual is subject to such a threat, an actual arrest, prosecution, or other enforcement action is

not a prerequisite to challenging the law. Id.; Steffel v. Thompson, 415 U.S. 452, 459 (1974) (“[I]t

is not necessary that petitioner first expose himself to actual arrest or prosecution to be entitled to

challenge a statute that he claims deters the exercise of his constitutional rights”); MedImmune,

Inc. v. Genentech, Inc., 549 U.S. 118, 128–129 (2007) (“[W]here threatened action by government

is concerned, we do not require a plaintiff to expose himself to liability before bringing suit to

challenge the basis for the threat”). A plaintiff satisfies the injury-in-fact requirement where he

alleges “an intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute, and there exists a credible threat of prosecution thereunder.”

Susan B. Anthony List, 573 U.S. at 159 (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298

(1979)). Therefore, Plaintiffs Schnitz, Martin, and Allen have standing.




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        C.    If one plaintiff has standing, there is no need to consider whether other plaintiffs
              have standing.

      “It is well settled that once [courts] determine that at least one plaintiff has standing, [courts]

need not consider whether the remaining plaintiffs have standing to maintain the suit.” McAllen

Grace Brethren Church v. Salazar, 764 F.3d 465, 471 (5th Cir. 2014).

                                                  ***

      At least one party has standing—in fact, they all do. The Court should therefore find that

Plaintiffs have standing to bring this suit.

II.   The AIA does not apply to this case.

      The Anti-Injunction Act (“AIA”) reads, “[With inapplicable exceptions,] no suit for the

purpose of restraining the assessment or collection of any tax shall be maintained in any court by

any person, whether or not such person is the person against whom such tax was assessed.” 26

U.S.C. § 7421. The AIA “protects the Government’s ability to collect a consistent stream of

revenue, by barring litigation to enjoin or otherwise obstruct the collection of taxes. Because of the

Anti–Injunction Act, taxes can ordinarily be challenged only after they are paid, by suing for a

refund.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 543 (2012).

        A. The AIA does not apply to Counts I, III, and IV. It also does not apply to Count II
           in the case of a denied application.

      Plaintiffs concede that the text of the AIA applies to Count II (challenging the collection of

the $200 tax from citizens whose applications are approved) (although Plaintiffs maintain that the

Enochs exception applies to that collection; see Part II.B, supra). But, under CIC Services, LLC v.

Internal Revenue Serv., 141 S. Ct. 1582 (2021), the AIA does not apply to Counts I (challenging the

application process), III (challenging the registration requirement), or IV (challenging the serial

number requirement) because those counts do not challenge the “assessment or collection” of tax.

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It also does not apply to Count II in cases where BATFE denies an application because no tax is

assessed or collected.

    As detailed above, a Texan who wants to make a firearm suppressor for non-commercial,

personal use does not simply pay a tax on that activity. Instead, the Texan must send BATFE $200

and apply for permission to make the firearm suppressor. If BATFE grants permission, it keeps the

$200, registers the suppressor, and sends the Texan a tax stamp, who can then make the

suppressor, so long as he or she registers it and puts a serial number on it. And sometimes BATFE

holds applications and indefinitely refuses to approve or deny them, while illegally demanding

“additional information” that no statute or rule allows them to demand. This “additional

information” includes pictures of the parts that the person intends to use to make the suppressor.

But because “any combination of parts, designed or redesigned, and intended for use in assembling

or fabricating a firearm silencer or firearm muffler” constitutes a “suppressor” under federal law,

see 26 U.S.C. § 5845(a)(7), 18 U.S.C. § 921(a)(25), this appears to be a trap. If a person submits

pictures of the parts that he or she intends to use in order to build a suppressor, BATFE may take

the position that the person has provided photographic proof that he or she is illegally in possession

of a suppressor and that would prove a violation of the National Firearms Act.

    BATFE may also (rightly or wrongly) disapprove the application and return the $200. This

establishes that the AIA does not apply to the application process. The AIA only bars injunctions

against the “assessment or collection” of taxes. The approval process is neither. BATFE neither

assesses an amount due nor collects taxes when it approves or disapproves an application to make

a firearm suppressor. The collection happens (or not) after BATFE evaluates the application, but

the evaluation itself is neither tax assessment nor tax collection.



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     Neither denying an application nor demanding more information without statutory authority

(and information that is arguably self-incriminating) is assessing or collecting taxes. It is in fact an

effort to not collect taxes. The AIA does not apply to Count I.

     The application process is similar to a reporting requirement, but challenges to reporting

requirements are not barred by the AIA. “[I]t [does] not matter that the reporting requirements

would facilitate collection of taxes.” CIC Services, 141 S. Ct. at 1589 (internal quotations omitted).

“The [AIA’s] limit on injunctions is not keyed to all activities that may improve a State’s ability

to assess and collect taxes. It is instead keyed to the acts of assessment and collection themselves.

That means a suit directed at ordinary reporting duties can go forward, unimpeded by the Anti-

Injunction Act.” Id. (cleaned up, internal citations and quotations omitted). This further

demonstrates that the AIA does not apply to Count I.

     The AIA might apply if the law simply required citizens to pay a tax whenever they make a

firearm suppressor and to submit relevant information on a tax return. “As every taxpayer knows,

the Internal Revenue Service (IRS) has broad power to require the submission of tax-related

information that it believes helpful in assessing and collecting taxes.” CIC Services, 141 S. Ct. at

1586–87. But the challenged regulations are very different. Deciding whether a citizen can make a

firearm suppressor is not assessing or collecting taxes. And BATFE demonstrates that it is not

merely assessing or collecting taxes when it denies applications unless the applicant provides

information not required by any authority whatsoever. The AIA does not bar injunctive relief

against such decisions.

     Counts III and IV do not even arguably challenge the assessment or collection of taxes. They

challenge post-collection requirements that the maker of firearm suppressors register the firearm



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suppressor and place a serial number on the firearm suppressor. And as with Count II, Counts III

and IV even more clearly do not challenge the assessment or collection of taxes in the case of a

disapproved application, in which case the maker of the firearm suppressor may not even legally

move on to the registration or serial number steps. Thus, Counts I, III, and IV do not have the

purpose of restraining the assessment or collection of any tax.

     Whether a claim challenges the assessment of collection of taxes is an objective inquiry.

“[T]he Anti-Injunction Act provides, with exceptions not relevant here, that ‘no suit for the

purpose of restraining the assessment or collection of any tax shall be maintained in any court by

any person.’ If [a] suit is not for that purpose, it can go forward. If the suit is for that purpose, it

must be dismissed.” CIC Services, 141 S. Ct. at 1588.

   In considering a suit[’s] purpose, we inquire not into a taxpayer’s subjective motive, but
   into the action’s objective aim—essentially, the relief the suit requests…. The purpose of
   a measure is “the end or aim to which [it] is directed.” N. Webster, An American
   Dictionary of the English Language (rev. ed. 1844); see Webster's Third New International
   Dictionary 1847 (1976). And in this context, that aim is not best assessed by probing an
   individual taxpayer’s innermost reasons for suing. Down that path lies too much potential
   for circumventing the Act. Instead, this Court has looked to the face of the taxpayer’s
   complaint. We have asked about what the Government here calls “the substance of the
   suit”—the claims brought and injuries alleged—to determine the suit’s object. And most
   especially, we have looked to the “relief requested”—the thing sought to be enjoined. The
   Anti-Injunction Act kicks in when the target of a requested injunction is a tax obligation—
   or stated in the Act’s language, when that injunction runs against the “collection or
   assessment of [a] tax.”

CIC Services, 141 S. Ct. at 1589–90.

     Count I’s purpose is to enjoin the application process, not the assessment or collection of

taxes. Count III’s purpose is to enjoin the registration requirement, not the assessment or

collection of taxes. Count IV’s purpose is to enjoin the serial-number requirement, not the

assessment or collection of taxes.



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    Thus, under CIC Services, the AIA does not bar injunctions against firearm suppressor

application, registration, and serial-number requirements, and of course does not apply to non-

collection of tax due to a disapproved or indefinitely un-acted on application, because they are not

“tax obligations” or “the collection or assessment of [a] tax.” CIC Services, 141 S. Ct. at 1590.

Enjoining the government from enforcing the suppressor application, registration, and serial-

number requirements would not have any effect on “the Government’s ability to collect a

consistent stream of revenue, by barring litigation to enjoin or otherwise obstruct the collection of

taxes,” which is the entire point of the AIA. Sebelius, 567 U.S. at 543.

       B.    The AIA does not apply to any of the challenged statutes under the Enochs
             exception.

     Despite the seemingly clear language of the AIA, courts recognize the Enochs exception. “[I]f

it is clear that under no circumstances could the Government ultimately prevail, the central

purpose of the [AIA] is inapplicable and the attempted collection may be enjoined if equity

jurisdiction otherwise exists. In such a situation the exaction is merely in the guise of a tax.” Enochs

v. Williams Packing & Nav. Co., 370 U.S. 1, 9 (1962) (internal citation and quotation omitted).

“Enochs establishes two prongs, both of which must be satisfied, before an injunction may issue

pursuant to [the AIA]. The first prong is that normal equity jurisdiction must obtain, i.e.,

irreparable injury and inadequacy of legal remedy must exist. The second independent criterion is

that it must be clear that under ‘no circumstances’ could the government ultimately prevail. Only

if the government does not have ‘a chance of ultimately prevailing’ and only if under the ‘most

liberal view of the law and the facts’ the United States cannot win, may a district court issue an

injunction.” Kemlon Products & Dev. Co. v. United States, 638 F.2d 1315, 1321 (5th Cir. 1981),

modified, 646 F.2d 223 (5th Cir. 1981) (quoting Enochs).


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    Even if the AIA applied to all the challenged regulations (it does not; see part II.A, infra), the

exception to the AIA recognized in Enochs applies because (1) the challenged regulations cause

irreparable harm, that cannot be cured with damages, by causing delay—sometimes indefinite

delay—and requiring registration and serial numbers (and permission is sometimes denied), and

(2) Defendants will not be able to overcome their burden to prove that the challenged requirements

are “consistent with the Nation’s historical tradition of firearm regulation,” which they must do

to justify the regulations under the Second Amendment. Bruen, 142 S. Ct. at 2126. See Part III,

infra.

               1.   Enforcement of the challenged regulations causes irreparable injury.

     For most taxes, the taxpayer pays a tax when the taxpayer performs a taxable activity, such as

purchasing a product subject to an excise tax, or when taxes are due, such as when the taxpayer

pays the income tax on April 15 and submits paperwork showing the amount due. In these cases,

if the tax was illegally collected, the taxpayer is not irreparably harmed because the taxpayer can

sue for a refund and get his or her money back, with interest. That makes the taxpayer whole under

the law of irreparable injury, Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328, 338 (5th

Cir. 1981), so the taxpayer has an adequate remedy at law for illegal tax assessment and collection,

and accordingly would not be entitled to prepayment injunctive relief under the AIA.

     This case is very different. BATFE takes some time—sometimes, an indefinite period of time

while it collects “more information”—to decide whether to approve an application to make a

firearm suppressor. Even if BATFE eventually approves a Texan’s application, the Texan has

suffered irreparable harm in the form of time lost that cannot be repaired by recovering the $200

back with interest. In the First Amendment context, requiring a would-be speaker to submit $200

along with an application for permission to speak, and waiting for permission (sometimes while the
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agency illegally requests “additional information”), cannot be repaired by giving the $200 back

with interest because the applicant was not allowed to speak before the agency granted permission

(if it ever did). That is a harm that cannot be repaired with money. “It is well settled that the loss

of First Amendment freedoms for even minimal periods of time constitutes irreparable injury.”

Deerfield Med. Ctr., 661 F.2d at 338. So too for delays in exercising Second Amendment rights.

     Additionally, approved applicants must register their firearm suppressor with BATFE and

place a serial number on it. Those harms also cannot be repaired in a tax refund action that results

in returning the $200 with interest. The refund procedure is not available to return lost time or to

undo serial number and registration requirements.

     Disapproved applicants more obviously suffer an irreparable injury. They are not allowed to

make a firearm suppressor and never are even allowed to pay the tax. There is no way to repair

their injury by giving their money back (they still have their money) or with any other amount of

money. And Plaintiffs are unaware of any authority allowing a citizen to challenge BATFE’s denial

of an application to make a firearm suppressor in court.

     Texas is also irreparably harmed by delays to or prohibitions on Texans’ ability to use firearm

suppressors for the purpose of home defense. This runs counter to state policy favoring firearm

suppressors.

     Thus, the challenged regulations cause irreparable injury—injuries that cannot be repaired by

a post-collection tax refund suit. Plaintiffs pass the first part of Enochs’s two-part test.

                   2.   Defendants have no chance of ultimately prevailing.

     Defendants have no chance of ultimately prevailing because the application process, the $200

tax, the serial-number requirement, and the registration requirements are unconstitutional. See

Part III, infra.
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III. The challenged statutes are unconstitutional as applied to Texans making firearm
     suppressors for non-commercial, personal use, and their continued possession of those
     firearm suppressors.

       “A well regulated Militia, being necessary to the security of a free State, the right of the people

to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. The Second Amendment

“protect[s] an individual’s right to carry a handgun for self-defense outside the home.” Bruen, 142

S. Ct. at 2122; see also District of Columbia v. Heller, 554 U.S. 570 (2008). This right, however, is

not unlimited: our Nation’s historical tradition teaches that there are certain “longstanding,”

“presumptively lawful regulatory measures” that the Second Amendment did not abrogate.

District of Columbia v. Heller, 554 U.S. 570, 626–27 & n.26 (2008).

       After Bruen, rather than means-end scrutiny, courts must “assess whether modern firearms

regulations are consistent with the Second Amendment’s text and historical understanding.”

Bruen, 142 S. Ct. at 2132. Stated another way, courts must first interpret the Second Amendment’s

text, as informed by history. And when the plain text covers an individual’s conduct, the

Constitution presumptively protects that conduct. Id. at 2129–30. “The government must then

justify its regulation by demonstrating that it is consistent with the Nation’s historical tradition of

firearm regulation. Only then may a court conclude that the individual’s conduct falls outside the

Second Amendment’s ‘unqualified command.’” Id. at 2130.

       Bruen has already been cited hundreds of times, mostly in cases that do not apply to anything

resembling the challenged regulations. 9 But a few opinions citing Bruen address issues that are

closer to the issues in this case.




9   For readability, this very long footnote has been moved to after the Conclusion section.
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    26 U.S.C. § 5842(a) requires makers of firearm suppressors to place a serial number on the

firearm suppressor, and 26 U.S.C. § 5842(b) requires possessors of firearm suppressors without a

serial number to place a serial number on the firearm suppressor. Plaintiffs challenge both statutes.

No post-Bruen opinion has construed those statutes, but some have construed 18 U.S.C. § 922(k),

a GCA statute which Plaintiffs do not challenge and which prohibits possessing or receiving a

firearm (including a firearm suppressor) “which has had the importer’s or manufacturer’s serial

number removed, obliterated, or altered and has, at any time, been shipped or transported in

interstate or foreign commerce.” Opinions are split as to whether § 922(k) survives Bruen.

Compare United States v. Price, No. 2:22-CR-00097, 2022 WL 6968457 (S.D. W. Va. Oct. 12, 2022)

(holding that § 922(k) does not survive Bruen) to United States v. Tita, No. CR RDB-21-0334, 2022

WL 17850250 (D. Md. Dec. 22, 2022); United States v. Reyna, No. 3:21-CR-41 RLM-MGG, 2022

WL 17714376 (N.D. Ind. Dec. 15, 2022); United States v. Holton, No. 3:21-CR-0482-B, 2022 WL

16701935 (N.D. Tex. Nov. 3, 2022) (all holding that § 922(k) remains constitutional).

    Two opinions have upheld the constitutionality of regulations on other weapons regulated by

the NFA. United States v. Hoover, No. 321CR22S3MMHMCR, 2022 WL 10524008, at *1–2 (M.D.

Fla. Oct. 18, 2022) (holding that the NFA’s prohibition on the possession of unregistered

machineguns (26 U.S.C. § 5861(d)) is constitutional on the grounds that machine guns are

“dangerous and unusual.”); United States v. Rush, No. 22-CR-40008-JPG, 2023 WL 403774, at *3

(S.D. Ill. Jan. 25, 2023) (holding that the NFA’s prohibition on possession of unregistered short-

barreled rifles (26 U.S.C. § 5861(d)) is constitutional on the grounds that short-barreled rifles are

“dangerous and unusual.”). These opinions do not apply to firearm suppressors, which are neither

dangerous nor unusual.



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    Three opinions (and one important pre-Bruen opinion) have considered large capacity

magazines, which, like firearm suppressors, Defendants argue can be considered “accessories.” In

Rocky Mountain Gun Owners v. Bd. of Cnty. Commissioners of Boulder Cnty., No.

122CV02113CNSMEH, 2022 WL 4098998 (D. Colo. Aug. 30, 2022), the court held that the

plaintiffs had a substantial likelihood of success on the merits and granted a TRO against an

ordinance that prohibits the sale and purchase of “assault weapons” and large capacity magazines.

On the other hand, in Ocean State Tactical, LLC v. State of Rhode Island, No. 22-CV-246 JJM-PAS,

2022 WL 17721175 (D.R.I. Dec. 14, 2022), the court held that Rhode Island law prohibiting large

capacity magazines is constitutional on the grounds that they are not “arms” and are not

instruments of self-defense, and in Oregon Firearms Fed’n, Inc. v. Brown, No. 2:22-CV-01815-IM,

2022 WL 17454829 (D. Or. Dec. 6, 2022), the court held that Oregon law prohibiting large capacity

magazines is constitutional on the grounds that they are not in common use). Those two opinions

contradict Heller v. District of Columbia, 670 F.3d 1244, 1261 (D.C. Cir. 2011) (“Heller II”), where

the court held on remand from the Supreme Court that weapons with large capacity magazines are

“arms” and in common use, but that the government may ban them under now-obsolete pre-Bruen

intermediate scrutiny.

       A. Regulation of firearm suppressors is regulation of conduct covered by the Second
          Amendment.

    Making a firearm suppressor for non-commercial, personal use is conduct covered by the

Second Amendment. Although the NFA itself defines firearm suppressors as “firearms,” 26

U.S.C. § 5845(a)(7), whether a firearm suppressor is or is not an “arm” is not the issue. Firearm

suppressors are attached to the barrel of firearms. When one keeps or bears arms with a firearm

suppressor, one is exercising Second Amendment rights, just as when one keeps or bears arms with


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a trigger, or a detachable magazine, or a scope, one is exercising Second Amendment rights.

Regulating firearm suppressors, triggers, detachable magazines, or scopes is regulating conduct

falling within the scope of the Second Amendment’s guarantee.

    Likewise, when one goes to a firing range, they are exercising Second Amendment rights, see

Ezell v. City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011), even though a firing range is not an arm.

See also Oakland Tactical Supply, LLC v. Howell Twp., Michigan, No. 21-1244, 2022 WL 3137711

(6th Cir. Aug. 5, 2022) (remanding a case to review a city’s shooting-range ordinances under

Bruen). And when one uses ammunition and firearms accessories, such as large-capacity

magazines, they are exercising Second Amendment rights. See, e.g., Jackson v. City & City of San

Francisco, 746 F.3d 953, 967-68 (9th Cir. 2014); New York State Rifle & Pistol Ass’n v. Cuomo,

804 F.3d 242 (2d Cir. 2015); Heller II, 670 F.3d at 1261.

    Regulating firearm parts, accessories, and things like firing ranges is regulating conduct

covered by the Second Amendment’s plain text. The Second Amendment covers more than

regulations of arms themselves. Similarly, the First Amendment covers more than speech and

press themselves. For instance, neither paper nor ink are themselves “speech” or “press,” but

newspapers use paper and ink to exercise their rights of freedom of speech and freedom of press,

just as citizens may use firearm suppressors, triggers, sights, detachable magazines, ammunition,

and firing ranges to exercise their right to keep and bear arms. That is why newspapers cannot be

constitutionally taxed on their purchases of paper and ink, except as part of a general sales tax on

all goods purchased. Minneapolis Star & Tribune Co. v. Minnesota Com’r of Revenue, 460 U.S. 575,

591 (1983). Regulating paper and ink used to exercise freedoms of speech and press is subject to




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constitutional constraints. So is regulating firearm accessories used to exercise the right to keep

and bear arms.

      Moreover, in Bruen, the Court defined “arms” broadly to include “modern instruments that

facilitate armed self-defense.” Bruen, 142 S. Ct. at 2132. Previously, it recognized the historical

inclusion of “armour of defence” within the definition of arms, showing the definition is not

limited to completed weapons. Heller, 554 U.S. 570, 581 (2008). And Bruen clarifies that the

Second Amendment covers “conduct falling within the scope of the Second Amendment’s

guarantee,” not just arms. Bruen, 142 S. Ct. at 2126 (emphasis added).

      The Second Amendment does not apply to weapons not typically possessed by law-abiding

citizens for lawful purposes. Heller, 554 U.S. at 625. But firearm suppressors are typically possessed

by law-abiding citizens for lawful purposes. There are over 2.6 million firearm suppressors legally

owned and registered in the United States, including over 500,000 registered in Texas. BATFE,

Firearms Commerce in the United States, Annual Statistical Update 2021, at 16. They are legal to

possess in 42 states, including Texas. Firearms Law and the Second Amendment at 600. They are

in common use just like AR-15s are in common use, as the D.C. Circuit found because

“[a]pproximately 1.6 million AR–15s alone have been manufactured since 1986.” Heller II, 670

F.3d at 1261 (D.C. Cir. 2011).

       Making and possessing firearm suppressors is conduct covered by the Second Amendment.

This becomes clearer if one imagines the same regulations at issue in this case applied to books.

Imagine a regulatory scheme where no citizen can make a book without permission, 10 must pay a




10Imagine further that parts of a book are illegal to own without government permission, and that
the government has an admitted history of neither approving nor disapproving the making of the
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$200 tax on the act of making a book, and must register the book with the government and place a

serial number on it so the government can track the ownership of the book—and if the citizen fails

to do these things, he or she faces ten years imprisonment and a fine of $10,000. Those imaginary

regulations cover conduct protected by the First Amendment. The real regulations in this case

likewise cover conduct covered by the Second Amendment.

       B.    The challenged statutes are not consistent with the Nation’s historical tradition
             of firearm regulation.

    Because the plain text of the Second Amendment covers the conduct of making and possessing

firearms with firearm suppressors attached, the Constitution presumptively protects that conduct.

Bruen, 142 S. Ct. at 2129–30. The burden therefore falls on Defendants to “affirmatively prove

that its firearms regulation is part of the historical tradition that delimits the outer bounds of the

right to keep and bear arms.” Id. at 2127. Plaintiffs are not required to prove anything to prevail.

               1.   There is a historical tradition of requiring adults, as members of the
                    militia, to possess firearms. This tradition is inconsistent with restrictions
                    on the right to keep and bear arms.

    Heller explained that a prefatory clause does not limit its operative clause. Instead, the Second

Amendment’s prefatory clause (“A well regulated Militia, being necessary to the security of a free

State”) announces the Second Amendment’s purpose is to “prevent elimination of the militia.”

Heller, 554 U.S. at 595, 599. Given the Second Amendment’s stated purpose, logic demands that

if an individual was (or is) a member of the “militia,” the Second Amendment’s protections extend

at least to those who constitute the militia. It would be illogical to enumerate a constitutional right

to keep and bear arms to maintain an armed militia if that right did not protect those individuals




book and “requesting” photos of the illegally owned parts of the book as part of a new application
process contrary to statute and rule. See Part III.E, infra.
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from whom a militia would be drawn. Firearms Policy Coal., Inc. v. McCraw, No. 4:21-CV-1245-P,

2022 WL 3656996, at *5 (N.D. Tex. Aug. 25, 2022).

    So who are these militia members? In United States v. Miller, the Supreme Court explained

that “the Militia comprised all males physically capable of acting in concert for the common

defense.” 307 U.S. 174, 179 (1939). And in Heller, the Supreme Court affirmed this definition,

stating that it “comports with founding-era sources.” Heller, 554 U.S. at 595 (collecting sources).

Thus, at the Founding, the “militia” was generally understood to be comprised of “all able-bodied

men.” Id. at 596.

    More accurately, however, the “militia” was “each and every free able-bodied white male

citizen” between the age of 18 and 45. Second Militia Act of 1792 § 1, 1 Stat. 271 (1792). Events

since 1792 have extinguished the historical tradition of limiting Second Amendment rights to able-

bodied white males of the most physically fit age. Now, the “Second Amendment right is exercised

individually and belongs to all Americans.” Heller, 554 U.S. at 581 (emphasis added).

    The historical record supports this understanding. The First Congress enacted legislation

“command[ing] that every able-bodied male citizen between the ages of 18 and 45 be enrolled in

the militia and equip himself with appropriate weaponry.” Jones v. Bonta, 34 F.4th 704, 719 (9th

Cir. 2022) (quoting Perpich v. Dep’t of Def., 496 U.S. 334, 341 (1990)) (alterations omitted)).

Additionally, the 1792 Act required militia members to arm themselves rather than rely on the

Government to provide arms. See Miller, 307 U.S. at 1796 (recognizing that the militia presupposed

firearm possession because “when called for service[,] these men were expected to appear bearing

arms supplied by themselves and of the kind in common use at the time”). State constitutions and

statutes from the founding era also demonstrate a tradition of a permanent, armed militia



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consisting of citizens keeping and bearing weapons in common use, with standing armies during

times of war only. FIREARMS LAW AND THE SECOND AMENDMENT: REGULATION, RIGHTS, AND

POLICY at 308–320.

    Laws requiring militia service by people required to keep and bear commonly used arms is

inconsistent with laws regulating and restricting making and possessing commonly used arms, such

as firearms with a firearm suppressor attached. Defendants will not be able to overcome their

burden.

               2.    Some firearm regulations are part of a historical tradition, but none are
                     analogous to the challenged statutes.

    Although some 18th-Centrury American regulations addressed conduct covered (or arguably

covered) by the Second Amendment, Defendants cannot establish that any of those regulations are

analogous to the regulations at issue in this case.

    Defendants may establish a historical tradition of restricting Second Amendment rights

exercised by blacks, both free and slave. But that historical tradition was extinguished by the Civil

War and the Reconstruction Amendments and can no longer justify any firearm regulations.

Defendants may also establish a historical tradition of restricting Second Amendment rights

exercised by Indians who were not part of “the People,” but all Indians are now American citizens,

so that tradition has died out as well. Defendants might also establish a historical tradition of

restricting Second Amendment rights exercised by Catholics, since the English Bill of Rights of

1689 stated, “That the Subjects which are Protestants may have Arms for their Defence suitable

to their Conditions and as allowed by Law.” If Defendants can establish such a tradition ever took

hold in the United States, that tradition was extinguished by the Second Amendment itself because

Catholics have always been part of “the People.”


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    These expired traditions cannot justify any regulation at all. And even if they were not

extinguished, they would not justify the regulations at issue in this case, which apply to all of “the

People,” not just on Others, simply based on their status as Others, whom the ruling class does not

consider part of “the People.”

    Defendants might establish a historical tradition of restricting Second Amendment rights

exercised by Loyalists or rebels (such as the participants in Shays’ Rebellion), or Second

Amendment rights exercised by other criminals (which many courts have recognized post-Bruen;

see n. 9, infra). That tradition cannot justify the regulations at issue because they apply to all the

People, not just to traitors, rebels, or criminals.

    Defendants can surely establish a historical tradition of militia regulations, such as drilling and

arms requirements, since the Second Amendment itself refers to “a well regulated Militia.” But

this tradition cuts against the idea that the government can regulate commonly owned firearms and

firearm accessories. See Part III.B.1, supra.

    Defendants might establish a historical tradition requiring local governments to keep arms for

use by militia members. After all, the American Revolution itself started when the British

attempted to confiscate such stores of weapons. But that tradition cannot justify regulations on

commonly owned firearms and firearm accessories, such as firearm suppressors.

    Defendants might establish a historical tradition of prohibiting the storage of gunpowder in

heavily urbanized areas (due to the risk of explosion). But that tradition cannot justify regulations

on commonly owned firearms and firearm accessories, such as firearm suppressors.




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      Defendants might establish a historical tradition of prohibiting the firing of weapons in cities,

or at night, without cause. But that tradition cannot justify regulations on commonly owned

firearms and firearm accessories, such as firearm suppressors.

      Defendants might establish a historical tradition of regulating “dangerous and unusual”

weapons. Bruen, 142 S. Ct. at 2128. But firearm suppressors are neither dangerous nor unusual, so

that tradition cannot justify regulations on firearm suppressors.

      None of these historical traditions justify regulations on commonly owned firearms and

firearm accessories, including firearm suppressors. Plaintiffs do not believe that Defendants are

able to establish any other 18th Century historical traditions. Therefore, Defendants cannot

overcome their burden.

      Moreover, Defendants are not able to establish a historical tradition of prohibiting the making

of firearms unless pre-approved by the government. No government attempted to regulate the

making of firearms until 1968, when the NFA was amended.

      Defendants are not able to establish a historical tradition of taxing the making of firearms.

There were no American taxes on firearms in the 18th Century. The first federal tax on firearms

was enacted in 1919, 11 and the first federal tax on making firearms was enacted in 1968. See also Part

III.B.4, infra, discussing the unconstitutionality of taxing the exercise of constitutional rights.




11 “First imposed on February 25, 1919, Section 4181 of the Internal Revenue Code imposes an
excise tax on imported firearms and ammunition when the importer sells or uses the firearms or
ammunition (FAET). A tax if 10 percent of the sales price is imposed on pistols and revolvers, and
a tax of 11 percent of the sales price is imposed on other portable weapons (e.g., rifles and shotguns)
and ammunition.” https://www.atf.gov/firearms/firearms-guides-importation-verification-
firearms-ammunition-and-implements-war-firearms
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       Finally, Defendants are not able to establish an American 18th Century historical tradition of

requiring that firearms be registered or have serial numbers. Those requirements first appeared in

1934.

          C.   Sonzinsky does not control this case.

       In a previous pleadings, Defendants cited Sonzinsky v. United States, 300 U.S. 506, 514 (1937)

for the proposition that “the Supreme Court has already upheld other analogous sections of the

NFA as a valid exercise of the taxing powers.” Dkt. #21 at 15. But Sonzinsky is inapposite for two

reasons.

       First, the issue in Sonzinsky was whether the NFA’s $200 annual license tax on dealers in

firearms was a constitutional exercise of the Taxing Power. Sonzinsky at 511. It was not about the

tax on making a firearm suppressor for non-commercial, personal use, a matter which was not taxed

in 1937, and was not taxed until 1968. 12

       Second, as a pre-Heller, pre-Bruen opinion, the Sonzinsky Court did not consider whether the

tax might violate the Second Amendment, did not even mention the right to keep and bear arms,

and did not review the tax under the historical-tradition standard. Sonzinsky is obsolete after Bruen.

          D.   The government may not tax the exercise of a constitutional right.

       It is a per se violation to tax the exercise of a constitutional right. Murdock v. Com. of

Pennsylvania, 319 U.S. 105, 113 (1943). As the Supreme Court said in the First Amendment context:

      A power to tax differentially, as opposed to a power to tax generally, gives a government a
      powerful weapon against the taxpayer selected. When the State imposes a generally
      applicable tax, there is little cause for concern. We need not fear that a government will
      destroy a selected group of taxpayers by burdensome taxation if it must impose the same
      burden on the rest of its constituency. When the State singles out the press, though, the
      political constraints that prevent a legislature from passing crippling taxes of general


12   48 Stat. 1236 (1934); 82 Stat. 1213 (1968).
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   applicability are weakened, and the threat of burdensome taxes becomes acute. That threat
   can operate as effectively as a censor to check critical comment by the press, undercutting
   the basic assumption of our political system that the press will often serve as an important
   restraint on government.

Minneapolis Star & Tribune Co., 460 U.S. at 585 (1983) (citation omitted). The NFA singles out

Texans who exercise their Second Amendment rights. It is not a general tax that happens to also

apply to the exercise of Second Amendment rights:

   A tax that burdens rights protected by the First Amendment cannot stand unless the burden
   is necessary to achieve an overriding governmental interest. Any tax that the press must
   pay, of course, imposes some “burden.” But, as we have observed, this Court has long
   upheld economic regulation of the press. The cases approving such economic regulation,
   however, emphasized the general applicability of the challenged regulation to all
   businesses, [and] suggest[ed] that a regulation that singled out the press might place a
   heavier burden of justification on the State, and we now conclude that the special problems
   created by differential treatment do indeed impose such a burden.

Id. at 582–83.

    It is unconstitutional to regulate Second Amendment rights via taxation.

       E.    Last year, Defendants put the application process toward abusive ends.

    There is an additional reason that the application process is unconstitutional. When a citizen

applies for permission to make a firearm suppressor for non-commercial, personal use, federal

regulations require action: “The Director will consider the application for approval or

disapproval.” 27 C.F.R. § 479.64. But Defendants admit that they did not “approv[e] or

disapprov[e]” applications for some time last year. Under Bruen, failing to act on an application is

unconstitutional.

    “[B]ecause any permitting scheme can be put toward abusive ends, we do not rule out

constitutional challenges to shall-issue regimes where, for example, lengthy wait times in processing

license applications or exorbitant fees deny ordinary citizens their right to public carry.” Bruen, 142

S. Ct. at 2138 n.9 [emphasis added]. The application process is a shall-issue regime. Indeterminate

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wait times—unauthorized by statute or rule—are unconstitutional. Yet Defendants have a history

of doing just that.

     Defendants have no authority to indefinitely delay approval or disapproval or to ask for

unspecified “additional information.” “Administrative agencies are creatures of statute. They

accordingly possess only the authority that Congress has provided.” Sebelius, 142 S. Ct. at 665.

“[O]ur system does not permit agencies to act unlawfully even in pursuit of desirable ends.” Ala.

Ass’n of Realtors v. Dep’t of Health & Human Servs., 141 S. Ct. 2485, 2490 (2021). The statute limits

what Defendants can do. It reads:

        No person shall make a firearm unless he has (a) filed with the Secretary a written
        application, in duplicate, to make and register the firearm on the form prescribed
        by the Secretary; (b) paid any tax payable on the making and such payment is
        evidenced by the proper stamp affixed to the original application form; (c) identified
        the firearm to be made in the application form in such manner as the Secretary may
        by regulations prescribe; (d) identified himself in the application form in such
        manner as the Secretary may by regulations prescribe, except that, if such person is
        an individual, the identification must include his fingerprints and his photograph;
        and (e) obtained the approval of the Secretary to make and register the firearm and
        the application form shows such approval. Applications shall be denied if the
        making or possession of the firearm would place the person making the firearm in
        violation of law.

26 U.S.C. § 5822. But BATFE demanded “additional information” that is not “on the form

provided by the Secretary,” contrary to the statute. Nor does any rule allow BATFE to demand

“additional information.”

     The regulations provide, “The Director will consider the application for approval or

disapproval. If the application is approved, the Director will return the original thereof to the maker

of the firearm and retain the duplicate. … If the application is disapproved, the original Form 1

(Firearms) and the remittance submitted by the applicant for the purchase of the stamp will be

returned to the applicant with the reason for disapproval stated on the form.” 27 C.F.R. § 479.64.


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The options are “approve” or “deny.” There is no third option. There certainly is no option for

“neither approve nor deny and demand ‘additional information.’”

     Defendants may not just make up a “process” of indeterminate length. The process

established by statute and regulation is a “shall-issue” process. If the applicant provides all

information, the applicant gets permission to make the firearm suppressor, period. Otherwise,

BATFE denies the application.

     Defendants’ past refusal to approve or disapprove applications, as required by 27 C.F.R.

§ 479.64, and demand for “more information,” illegally turns the process into more of a “may-

issue” regime like the one found unconstitutional in Bruen. Bruen, 142 S. Ct. at 2123–24.

  PLAINTIFFS ARE ENTITLED TO A PERMANENT INJUNCTION

     “[F]ederal courts may in some circumstances grant injunctive relief against state officers who

are violating, or planning to violate, federal law. But that has been true not only with respect to

violations of federal law by state officials, but also with respect to violations of federal law by federal

officials.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326–27 (2015).

     Before a court may grant a permanent injunction, a plaintiff must demonstrate: (1) that it has

suffered an irreparable injury; (2) that remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) that, considering the balance of hardships between

the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public interest would

not be disserved by a permanent injunction. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391

(2006).

     Plaintiffs have irreparable injury for which money damages are inadequate. Defendants’

hardship in being unable to enforce unconstitutional statutes, regulations, and practices are heavily



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outweighed by the harm to Plaintiffs if they cannot exercise their constitutional rights, and the

public interest is not disserved by requiring Defendants to cease and desist from violating Plaintiff's

rights under the Second Amendment. Accordingly, Plaintiffs are entitled to injunctive relief

prohibiting Defendants from enforcing unconstitutional statutes, regulations, and practices against

Texans generally and against Plaintiff Schnitz, Martin, and Allen specifically.

                                        CONCLUSION

    Plaintiffs request that the Court grant their motion for summary judgment and

    a. Issue permanent injunctive relief enjoining Defendants from requiring Texans to apply for

        and receive permission to make firearm suppressors in Texas for non-commercial,

        personal use in Texas;

    b. Issue permanent injunctive relief enjoining Defendants from requiring Texans to pay a

        $200 tax on the making of firearm suppressors in Texas for non-commercial, personal use

        in Texas;

    c. Issue permanent injunctive relief enjoining Defendants from requiring Texans to register

        firearms suppressors made in Texas for non-commercial, personal use in Texas;

    d. Issue permanent injunctive relief enjoining Defendants from requiring Texans to place a

        serial number on firearms suppressors made in Texas for non-commercial, personal use in

        Texas;

    e. Issue permanent injunctive relief enjoining Defendant Garland from initiating criminal

        prosecution of Plaintiffs Schnitz, Martin and Allen for making a firearm suppressor in

        Texas for non-commercial, personal use in Texas without complying with the application,

        taxation, registration, or serial number requirements;



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    f. Declare the following statutes unconstitutional as applied to the making of firearms by

        Texans for non-commercial, personal use in Texas:

        26 U.S.C. §§ 5821, 5822, 5841, 5842, and 5861.

    g. Declare the following regulations unconstitutional as applied to the making of firearms by

        Texans for non-commercial, personal use in Texas:

        27 C.F.R. §§ 479.61, 479.62, 479.63, 479.64, 479.71, and 479.102; and

    h. Award other and further relief as the Court deems equitable and just.

    In the alternative, the Court should issue an injunction requiring BATFE to promptly approve

or disapprove all Form 1 applications to make firearm suppressors without requesting additional

information not already requested in the Form 1 application as it existed on February 24, 2022.




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                                        FOOTNOTE 9

Plaintiffs describe the holdings of the below opinions to show that most of them are inapplicable to
this case. Plaintiffs do not necessarily agree that any of the opinions are correct. For readability,
these opinions do not appear in the Index of Authorities unless they also appear in the main body
of this Brief.
18 U.S.C. § 922(g)(1) (prohibiting possession of firearm by felon) is constitutional post-Bruen:
United States v. Gonzalez, No. 22-1242, 2022 WL 4376074 (7th Cir. Sept. 22, 2022); Range v.
Attorney Gen. United States, 53 F.4th 262, 284 (3d Cir. 2022), reh’g en banc granted, opinion vacated
sub nom. Range v. Attorney Gen. United States of Am., 56 F.4th 992 (3d Cir. 2023); United States v.
Martin, No. 2:21-CR-00068, 2023 WL 1767161 (D. Vt. Feb. 3, 2023); United State v. Issac, No.
522CR117LCBHNJ1, 2023 WL 1415597 (N.D. Ala. Jan. 31, 2023); United States v. Taylor, No.
322CR00022GFVTEBA1, 2023 WL 1423725 (E.D. Ky. Jan. 31, 2023); United States v. Barber, No.
4:20-CR-384-SDJ, 2023 WL 1073667 (E.D. Tex. Jan. 27, 2023); United States v. Brown, No. CR
20-260-1, 2023 WL 424260 (E.D. Pa. Jan. 26, 2023); United States v. Davis, No. CR 5:19-159-DCR,
2023 WL 373172 (E.D. Ky. Jan. 24, 2023); Shipley v. Hijar, No. EP-23-CV-11-KC, 2023 WL 353994
(W.D. Tex. Jan. 20, 2023); Gordon v. United States, No. 114CR00312ELRJKL1, 2023 WL 336137
(N.D. Ga. Jan. 20, 2023); Battles v. United States, No. 4:23-CV-00063-HEA, 2023 WL 346002
(E.D. Mo. Jan. 20, 2023); United States v. Robinson, No. 22-00070-01-CR-W-BP, 2023 WL 214163
(W.D. Mo. Jan. 17, 2023); United States v. Tucker, No. 2:22-CR-00017, 2023 WL 205300 (S.D.W.
Va. Jan. 17, 2023); United States v. Garrett, No. 18 CR 880, 2023 WL 157961 (N.D. Ill. Jan. 11,
2023); United States v. Moore, No. 3:20-CR-00474-IM-1, 2023 WL 154588 (D. Or. Jan. 11, 2023);
United States v. Jordan, No. EP-22-CR-01140-DCG-1, 2023 WL 157789 (W.D. Tex. Jan. 11, 2023);
Campiti v. Garland, No. 3:22-CV-177 (AWT), 2023 WL 143173 (D. Conn. Jan. 10, 2023); Davis v.
United States, No. 4:19-CR-080-A, 2023 WL 129599 (N.D. Tex. Jan. 9, 2023); United States v.
Coleman, No. 3:22-CR-8-2, 2023 WL 122401 (N.D.W. Va. Jan. 6, 2023); United States v. Medrano,
No. 3:21-CR-39, 2023 WL 122650 (N.D.W. Va. Jan. 6, 2023); United States v. Trammell, No. 3:20-
CR-61-RGJ, 2023 WL 22981 (W.D. Ky. Jan. 3, 2023); United States v. Wondra, No. 1:22-CR-
00099-BLW, 2022 WL 17975985 (D. Idaho Dec. 27, 2022); United States v. Williams, No.
121CR00362LMMLTW1, 2022 WL 17852517 (N.D. Ga. Dec. 22, 2022); United States v. Goins,
No. 522CR00091GFVTMAS1, 2022 WL 17836677 (E.D. Ky. Dec. 21, 2022); United States v.
Dawson, No. 321CR00293RJCDCK, 2022 WL 17839807 (W.D.N.C. Dec. 21, 2022); United States
v. Hunter, No. 1:22-CR-84-RDP-NAD-1, 2022 WL 17640254 (N.D. Ala. Dec. 13, 2022); United
States v. Spencer, No. 2:22CR106, 2022 WL 17585782 (E.D. Va. Dec. 12, 2022); United States v.
Grinage, No. SA-21-CR-00399-JKP, 2022 WL 17420390 (W.D. Tex. Dec. 5, 2022); United States
v. Wagoner, No. 4:20-CR-00018, 2022 WL 17418000 (W.D. Va. Dec. 5, 2022); United States v.
Robinson, No. 4:22-CR-00070-BP, 2022 WL 18356667, at *3 (W.D. Mo. Dec. 1, 2022), report and
recommendation adopted, No. 22-00070-01-CR-W-BP, 2023 WL 214163 (W.D. Mo. Jan. 17,
2023); United States v. Ford, No. 21-CR-00179-1-HFS, 2022 WL 17327499 (W.D. Mo. Nov. 29,
2022); United States v. Jones, No. 20-CR-00354-HFS, 2022 WL 17327498 (W.D. Mo. Nov. 29,
2022); United States v. Cage, No. 3:21-CR-68-KHJ-FKB, 2022 WL 17254319 (S.D. Miss. Nov. 28,
2022); United States v. Willis, No. 22-CR-00186-RMR, 2022 WL 17177470 (D. Colo. Nov. 23,
2022); United States v. Teerlink, No. 2:22-CR-0024-TS, 2022 WL 17093425 (D. Utah Nov. 21,
2022); United States v. Good, No. 21-00180-01-CR-W-HFS, 2022 WL 18107183, at *7 (W.D. Mo.

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Nov. 18, 2022), report and recommendation adopted, No. 21-00180-CR-W-HFS, 2023 WL 25725
(W.D. Mo. Jan. 3, 2023); United States v. Hill, No. CR H-22-249, 2022 WL 17069855 (S.D. Tex.
Nov. 17, 2022); United States v. Mitchell, No. CR 1:22-00111-KD-MU, 2022 WL 17492259 (S.D.
Ala. Nov. 17, 2022); United States v. Williams, No. 121CR00362LMMLTW, 2022 WL 18285005,
at *5 (N.D. Ga. Nov. 14, 2022), report and recommendation adopted as modified, No.
121CR00362LMMLTW1, 2022 WL 17852517 (N.D. Ga. Dec. 22, 2022); United States v. Gray,
No. 22-CR-00247-CNS, 2022 WL 16855696 (D. Colo. Nov. 10, 2022); United States v. Banuelos,
No. EP-22-CR-00903-FM, 2022 WL 17752205 (W.D. Tex. Nov. 10, 2022); United States v. Baker,
No. 2:20-CR-00301-DBB, 2022 WL 16855423 (D. Utah Nov. 10, 2022); United States v. Carpenter,
No. 1:21-CR-00086-DBB, 2022 WL 16855533 (D. Utah Nov. 10, 2022); United States v. Moore,
No. CR 21-121, 2022 WL 17490021 (W.D. Pa. Nov. 9, 2022); United States v. Reese, No. 19-CR-
257, 2022 WL 16796771 (W.D. Pa. Nov. 8, 2022); United States v. Young, No. CR 22-054, 2022
WL 16829260 (W.D. Pa. Nov. 7, 2022); United States v. Ford, No. 21-00179-01-CR-W-HFS, 2022
WL 17331288, at *2 (W.D. Mo. Nov. 4, 2022), report and recommendation adopted, No. 21-CR-
00179-1-HFS, 2022 WL 17327499 (W.D. Mo. Nov. 29, 2022); United States v. Butts, No. CR 22-
33-M-DWM, 2022 WL 16553037 (D. Mont. Oct. 31, 2022); United States v. Carleson, No. 3:22-
CR-00032-SLG, 2022 WL 17490753 (D. Alaska Oct. 28, 2022); Walker v. United States, No. 20-
CV-31-DMS-AGS, 2022 WL 16541183 (S.D. Cal. Oct. 28, 2022) (upholding felon-in-possession
laws generally without specifying 922(g)(1)); United States v. Grant, No. CR 3:22-161-MGL-1,
2022 WL 16541138 (D.S.C. Oct. 28, 2022); United States v. Burton, No. CR 3:22-362-MGL-1, 2022
WL 16541139 (D.S.C. Oct. 28, 2022); United States v. Deamonte Law, No. CR 20-341, 2022 WL
17490258 (W.D. Pa. Oct. 27, 2022); United States v. Jones, No. 20-00354-01-CR-W-HFS, 2022
WL 17331287, at *5 (W.D. Mo. Oct. 19, 2022), report and recommendation adopted, No. 20-CR-
00354-HFS, 2022 WL 17327498 (W.D. Mo. Nov. 29, 2022); United States v. Minter, No. 3:22-CR-
135, 2022 WL 10662252 (M.D. Pa. Oct. 18, 2022); United States v. Melendrez-Machado, No. EP-
22-CR-00634-FM, 2022 WL 17684319 (W.D. Tex. Oct. 18, 2022); United States v. Trinidad, No.
CR 21-398 (SCC), 2022 WL 10067519 (D.P.R. Oct. 17, 2022); United States v. Raheem, No. 3:20-
CR-61-RGJ, 2022 WL 10177684 (W.D. Ky. Oct. 17, 2022); United States v. Ridgeway, No.
22CR175-CAB, 2022 WL 10198823 (S.D. Cal. Oct. 17, 2022); United States v. Carrero, No. 2:22-
CR-00030, 2022 WL 9348792 (D. Utah Oct. 14, 2022); United States of Am. v. Riley, No. 1:22-CR-
163 (RDA), 2022 WL 7610264 (E.D. Va. Oct. 13, 2022); United States v. Price, No. 2:22-CR-00097,
2022 WL 6968457 (S.D.W. Va. Oct. 12, 2022) United States v. King, No. 21-CR-255 (NSR), 2022
WL 5240928 (S.D.N.Y. Oct. 6, 2022); United States v. Delpriore, No. 3:18-CR-00136-SLG, 2022
WL 17490771 (D. Alaska Oct. 4, 2022); United States v. Daniels, No. 1:03-CR-00083-MR, 2022
WL 5027574 (W.D.N.C. Oct. 4, 2022); United States v. Charles, No. MO:22-CR-00154-DC, 2022
WL 4913900 (W.D. Tex. Oct. 3, 2022); United States v. Harper, No. CR21-4085-LTS, 2022 WL
4595060 (N.D. Iowa Sept. 30, 2022); United States v. Siddoway, No. 1:21-CR-00205-BLW, 2022
WL 4482739 (D. Idaho Sept. 27, 2022); United States v. Campbell, No. CR-22-00138-001-HE,
2022 WL 17492255 (W.D. Okla. Sept. 27, 2022); United States v. Perez, No. 3:21-CR-508-CAB-1,
2022 WL 17484969 (S.D. Cal. Sept. 26, 2022); United States v. Collette, No. MO:22-CR-00141-
DC, 2022 WL 4476790 (W.D. Tex. Sept. 25, 2022); United States v. Coombes, No. 22-CR-00189-
GKF, 2022 WL 4367056 (N.D. Okla. Sept. 21, 2022); United States v. Hill, No. 21CR107 WQH,
2022 WL 4361917 (S.D. Cal. Sept. 20, 2022); United States v. Jackson, No. CR 21-51 (DWF/TNL),
2022 WL 4226229 (D. Minn. Sept. 13, 2022); United States v. Cockerham, No. 5:21-CR-6-DCB-

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FKB, 2022 WL 4229314 (S.D. Miss. Sept. 13, 2022); United States v. Harper, No. 21-CR-4085-
LTS-KEM, 2022 WL 8288406, at *5 (N.D. Iowa Sept. 9, 2022), report and recommendation adopted,
No. CR21-4085-LTS, 2022 WL 4595060 (N.D. Iowa Sept. 30, 2022); United States v. Doty, No.
5:21-CR-21, 2022 WL 17492260 (N.D.W. Va. Sept. 9, 2022) (not clear from opinion, but PACER
confirms this was a (g)(1) conviction); United States v. Burrell, No. 21-20395, 2022 WL 4096865
(E.D. Mich. Sept. 7, 2022); United States v. Ingram, No. CR 0:18-557-MGL-3, 2022 WL 3691350
(D.S.C. Aug. 25, 2022); USA v. Ramos, No. 2:21-CR-00395-RGK-1, 2022 WL 17491967 (C.D. Cal.
Aug. 5, 2022).
States laws similar to 18 U.S.C. § 922(g)(1) upheld post-Bruen: Nilsson v. Baker Cnty., Oregon, No.
2:19-CV-01250-HL, 2022 WL 17156771 (D. Or. Nov. 21, 2022), report and recommendation adopted,
No. 2:19-CV-01250-HL, 2022 WL 17170713 (D. Or. Nov. 22, 2022) (Oregon law suspending
concealed carry license after being found guilty of misdemeanor); Commonwealth v. Griffith, 101
Mass. App. Ct. 1124, 199 N.E.3d 887 (2022) (Massachusetts law prohibiting possession of firearms
by criminal); People v. Caldwell, 76 Misc. 3d 997, 1002, 173 N.Y.S.3d 918, 922 (N.Y. Sup. Ct. 2022)
(New York law prohibiting possession of firearms by felon); Fooks v. State, 255 Md. App. 75, 278
A.3d 208 (2022), cert. granted, 482 Md. 141, 285 A.3d 848 (2022) (Maryland law prohibiting person
incarcerated for two years or more from possessing firearms).
Sentence enhancement § 2D1.1(b)(1) (“If a dangerous weapon (including a firearm) was
possessed, increase by 2 levels.”) is constitutional post-Bruen. United States v. Love, No. 1:21-CR-
42-HAB, 2022 WL 17829438 (N.D. Ind. Dec. 20, 2022); United States v. Alaniz, No. 1:21-CR-
00243-BLW, 2022 WL 3700834 (D. Idaho Aug. 26, 2022) (but the court later acknowledged there
is a substantial question about this while ruling on a motion for release pending appeal, United
States v. Alaniz, No. 1:21-CR-00243-BLW, 2022 WL 4585896 (D. Idaho Sept. 29, 2022)).
18 U.S.C. § 922(g)(3) (prohibiting possession of firearms by unlawful user of or addicted to any
controlled substance) is constitutional post-Bruen. United States v. Lewis, No. CR-22-368-F, 2023
WL 187582 (W.D. Okla. Jan. 13, 2023); United States v. Black, No. CR 22-133-01, 2023 WL 122920,
at *4 (W.D. La. Jan. 6, 2023); Gilpin v. United States, No. 20-04050-01-CR-C-RK, 2023 WL
387049, at *4 (W.D. Mo. Jan. 3, 2023); United States v. Connelly, No. EP-22-CR-229(2)-KC, 2022
WL 17829158 (W.D. Tex. Dec. 21, 2022) (on a blank slate, the court thinks (g)(3) might not survive
Bruen, but is bound by pre-Bruen 5th Circuit precedent); United States v. Sanchez, No. W-21-CR-
00213-ADA, 2022 WL 17815116 (W.D. Tex. Dec. 19, 2022; Fried v. Garland, No. 4:22-CV-164-
AW-MAF, 2022 WL 16731233 (N.D. Fla. Nov. 4, 2022) (user of state-legal “medical marijuana”
barred from possessing a firearm because marijuana is illegal under federal law); United States v.
Harper, No. CR21-4085-LTS, 2022 WL 4595060 (N.D. Iowa Sept. 30, 2022) (also (g)(1)
possession by felon); United States v. Seiwert, No. 20 CR 443, 2022 WL 4534605 (N.D. Ill. Sept.
28, 2022); United States v. Daniels, No. 1:22-CR-58-LG-RHWR-1, 2022 WL 2654232 (S.D. Miss.
July 8, 2022); United States v. Harper, No. 21-CR-4085-LTS-KEM, 2022 WL 8288406, at *5
(N.D. Iowa Sept. 9, 2022), report and recommendation adopted, No. CR21-4085-LTS, 2022 WL
4595060 (N.D. Iowa Sept. 30, 2022).
18 U.S.C. § 922(g)(4) (prohibiting possession by one “who has been adjudicated as a mental
defective or who has been committed to a mental institution”) is constitutional post-Bruen. Clifton
v. United States Dep’t of Justice, No. 121CV00089DADEPG, 2022 WL 2791355 (E.D. Cal. July 15,
2022).

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California law prohibiting owning or possessing a firearm for five years after his or her release from
a mental health facility is constitutional post-Bruen. Pervez v. Becerra, No. 218CV02793KJMKJN,
2022 WL 2306962 (E.D. Cal. June 27, 2022).
New York law allowing court to order persons to not possess firearms because they are a danger to
themselves or others in unconstitutional on due-process and Bruen grounds. G.W. v. C.N., No.
2022-2431, 2022 WL 17972654 (N.Y. Sup. Ct. Dec. 22, 2022).
18 U.S.C. § 922(g)(5) (prohibiting possession of firearm by illegal alien) is constitutional post-
Bruen. United States v. Carbajal-Flores, No. 20-CR-00613, 2022 WL 17752395 (N.D. Ill. Dec. 19,
2022); United States v. DaSilva, No. 3:21-CR-267, 2022 WL 17242870 (M.D. Pa. Nov. 23, 2022).
The Fifth Circuit held 18 U.S.C. § 922(g)(8) (prohibiting possession of firearm by person subject
to protective order against intimate partner) unconstitutional post-Bruen in United States v.
Rahimi, No. 21-11001, 2023 WL 1459240 (5th Cir. Feb. 2, 2023). Two district courts agree. United
States v. Combs, No. CR 5:22-136-DCR, 2023 WL 1466614 (E.D. Ky. Feb. 2, 2023); United States
v. Perez-Gallan, No. PE:22-CR-00427-DC, 2022 WL 16858516 (W.D. Tex. Nov. 10, 2022)
(§ 922(g)(8) is unconstitutional because there is no historical tradition supporting (g)(8) and there
is a historical tradition of handling domestic violence in different ways). One district court ruled
that § 922(g)(8) is constitional post-Bruen. United States v. Kays, No. CR-22-40-D, 2022 WL
3718519 (W.D. Okla. Aug. 29, 2022) (§ 922(g)(8) is constitutional because surety laws provide a
historical analogue).
18 U.S.C. § 922(g)(9) (prohibiting possession of a firearm following a domestic violence
misdemeanor conviction) is constitutional post-Bruen. United States v. Bernard, No. 22-CR-03
CJW-MAR, 2022 WL 17416681 (N.D. Iowa Dec. 5, 2022); United States v. Anderson, No.
2:21CR00013, 2022 WL 10208253 (W.D. Va. Oct. 17, 2022); United States v. Jackson, No. CR-22-
59, 2022 WL 3582504 (W.D. Okla. Aug. 19, 2022); United States v. Nutter, No. 2:21-CR-00142,
2022 WL 3718518 (S.D.W. Va. Aug. 29, 2022).
18 U.S.C. § 922(b)(1), (c)(1) (prohibiting the sale of handguns and handgun ammunition to persons
under 21 years old) is constitutional post-Bruen. Reese v. Bureau of Alcohol Tobacco Firearms &
Explosives, No. 6:20-CV-01438, 2022 WL 17859138 (W.D. La. Dec. 21, 2022).
Texas law prohibiting law-abiding 18-to-20-year-olds from carrying a handgun for self-defense
outside the home is unconstitutional. Firearms Policy Coal., Inc. v. McCraw, No. 4:21-CV-1245-P,
2022 WL 3656996 (N.D. Tex. Aug. 25, 2022).
18 U.S.C. § 922(a)(1)(A) (prohibiting dealing firearms without a license) is constitutional post-
Bruen. United States v. King, No. 5:22-CR-00215-001, 2022 WL 17668454, at *3 (E.D. Pa. Dec. 14,
2022) (“the Second Amendment does not protect the commercial dealing of firearms”); United
States v. Gonzalez, No. 1:22-CR-00054, 2022 WL 17583769 (D. Utah Dec. 12, 2022); United States
v. Tilotta, No. 3:19-CR-04768-GPC, 2022 WL 3924282 (S.D. Cal. Aug. 30, 202
The Second Amendment does not apply to the “buying, selling, storing, shipping, or otherwise
engaging in the business of firearms.” Gazzola v. Hochul, No. 122CV1134BKSDJS, 2022 WL
17485810 (N.D.N.Y. Dec. 7, 2022); United States v. Flores, No. CR H-20-427, 2023 WL 361868
(S.D. Tex. Jan. 23, 2023); Morehouse Enterprises, LLC v. Bureau of Alcohol, Tobacco, Firearms &
Explosives, No. 3:22-CV-116, 2022 WL 3597299 (D.N.D. Aug. 23, 2022).

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The Second Amendment does not apply to corporations. Gazzola v. Hochul, No.
122CV1134BKSDJS, 2022 WL 17485810, at *14 (N.D.N.Y. Dec. 7, 2022)
Courts are split on the post-Bruen constitutionality of 18 U.S.C. § 922(n) (prohibiting any person
who is under indictment for a crime punishable by imprisonment for a term exceeding one year
from shipping, transporting, or receiving a firearm or ammunition in interstate or foreign
commerce). Finding § 922(n) unconstitutional: United States v. Stambaugh, No. CR-22-00218-
PRW-2, 2022 WL 16936043, at *6 (W.D. Okla. Nov. 14, 2022), recons. denied United States v.
Stambaugh, No. CR-22-00218-PRW-2, 2023 WL 172037 (W.D. Okla. Jan. 12, 2023) (government
failed to meet its burden to prove that a historical tradition justifies § 922(n); United States v. Hicks,
No. W:21-CR-00060-ADA, 2023 WL 164170 (W.D. Tex. Jan. 9, 2023); United States v. Holden,
No. 3:22-CR-30 RLM-MGG, 2022 WL 17103509 (N.D. Ind. Oct. 31, 2022); United States v.
Quiroz, No. PE:22-CR-00104-DC, 2022 WL 4352482, at *1 (W.D. Tex. Sept. 19, 2022). Finding
§ 922(n) constitutional: United States v. Rowson, No. 22 CR. 310 (PAE), 2023 WL 431037
(S.D.N.Y. Jan. 26, 2023); United States v. Kelly, No. 3:22-CR-00037, 2022 WL 17336578 (M.D.
Tenn. Nov. 16, 2022); United States v. Kays, No. CR-22-40-D, 2022 WL 3718519 (W.D. Okla. Aug.
29, 2022. Finally, see also United States v. Avila, No. 22-50088, 2022 WL 17832287 (5th Cir. Dec.
21, 2022) (defendants did not challenge constitutionality of § 922(n) at trial, so no plain error to
uphold guilt on appeal).
Conviction for possession of firearms by person under indictment under Ohio law remanded for
consideration in light of Bruen. State v. Philpotts, 2022-Ohio-4362 (Ohio Supreme Court Dec. 9
2022).
The penalty enhancement for possession of firearms in furtherance of drug-trafficking (18 U.S.C.
§ 924(c)(1)(A)) is constitutional post-Bruen. United States v. Burgess, No. 22-1110, 2023 WL
179886 (6th Cir. Jan. 13, 2023); United State v. Issac, No. 522CR117LCBHNJ1, 2023 WL 1415597
(N.D. Ala. Jan. 31, 2023); United States v. Garrett, No. 18 CR 880, 2023 WL 157961 (N.D. Ill. Jan.
11, 2023); United States v. Trammell, No. 3:20-CR-61-RGJ, 2023 WL 22981 (W.D. Ky. Jan. 3,
2023); United States v. Snead, No. 1:22-CR-033, 2022 WL 16534278 (W.D. Va. Oct. 28, 2022);
United States v. Ingram, No. CR 0:18-557-MGL-3, 2022 WL 3691350 (D.S.C. Aug. 25, 2022);
U.S.A. v. Nevens, No. CR 19-774-DMG, 2022 WL 17492196 (C.D. Cal. Aug. 15, 2022).
18 U.S.C. § 924(a)(1)(A) (prohibiting knowingly making false statements or representations
regarding firearms records) does not regulate conduct that falls under the plain text of the Second
Amendment, so Bruen does not apply. United States v. Porter, No. CR 3:22-00055, 2023 WL 113739
(S.D.W. Va. Jan. 5, 2023).
18 U.S.C. § 922(a)(6) (prohibiting knowingly making any false statements or identification with
the intent to of likelihood of deceiving a licensed importer, manufacturer, dealer, or collector with
respect to any fact material to the lawfulness of the sale or other disposition of such firearm or
ammunition) does not regulate conduct that falls under the plain text of the Second Amendment,
so Bruen does not apply. United States v. Soto, No. SA-22-CR-302-JKP, 2023 WL 1087886 (W.D.
Tex. Jan. 27, 2023).
18 U.S.C. § 922(d)(1) (prohibiting knowingly disposing of a firearm to a convicted felon) does not
regulate conduct that falls under the plain text of the Second Amendment, and even it if did, there


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are sufficient historical analogues of regulating the sale and transfer of firearms. United States v.
Porter, No. CR 3:22-00055, 2023 WL 113739 (S.D.W. Va. Jan. 5, 2023).
One appellate court remanded a case to review a city’s shooting-range ordinances under Bruen.
Oakland Tactical Supply, LLC v. Howell Twp., Michigan, No. 21-1244, 2022 WL 3137711 (6th Cir.
Aug. 5, 2022).
City ordinance requiring gun owners to obtain and maintain liability insurance and contribute fee
to gun harm reduction programs is constitutional post-Bruen. Nat’l Ass’n for Gun Rights, Inc. v.
City of San Jose, No. 22-CV-00501-BLF, 2022 WL 3083715 (N.D. Cal. Aug. 3, 2022).
A condition of release of prohibiting possession of firearms is constitutional post-Bruen. United
States v. Wendt, No. 422CR00199SHLHCA1, 2023 WL 166461 (S.D. Iowa Jan. 11, 2023); United
States v. Slye, No. 1:22-MJ-144, 2022 WL 9728732, at *3 (W.D. Pa. Oct. 6, 2022); United States v.
Perez-Garcia, No. 3:22-CR-01581-GPC, 2022 WL 4351967, at *1 (S.D. Cal. Sept. 18, 2022), review
denied, No. 22-CR-1581-GPC, 2022 WL 17477918 (S.D. Cal. Dec. 6, 2022).
Prohibition on possession of firearms as condition of parole is constitutional post-Bruen. United
States v. Fencl, No. 21-CR-3101 JLS, 2022 WL 17486363 (S.D. Cal. Dec. 7, 2022).
Bond requirement prohibiting possession of firearms under Texas law is constitutional post-Bruen.
Ex parte Isedore, No. 14-22-00161-CR, 2023 WL 142514 (Tex. App.—Houston [14th Dist.] Jan. 10,
2023, no pet. h.)
It violates the Second Amendment for the government to keep guns seized during a criminal
investigation after the investigation is over. Frein v. Pennsylvania State Police, 47 F.4th 247, 250 (3d
Cir. 2022).
Rule prohibiting the carrying of firearms on the campus of the National Institutes for Health (45
C.F.R. § 3.42(g)) is constitutional. United States v. Power, No. 20-PO-331-GLS, 2023 WL 131050
(D. Md. Jan. 9, 2023); United States v. Robertson, No. 22-PO-867-GLS, 2023 WL 131051 (D. Md.
Jan. 9, 2023); United States v. Marique, No. CR 8:21-PO-02263-AAQ, 2022 WL 17822443 (D. Md.
Dec. 20, 2022); United States v. Tallion, No. CR 8:22-PO-01758-AAQ, 2022 WL 17619254 (D. Md.
Dec. 13, 2022).
A court granted a TRO enjoining New Jersey’s post-Bruen expansion of “sensitive places” to
public libraries or museums; bars, restaurants, and where alcohol is served; entertainment
facilities; private property (unless otherwise indicated by owner); and vehicles unless unloaded
and contained in a locked box. Koons v. Reynolds, No. CV 22-7464 (RMB/EAP), 2023 WL 128882
(D.N.J. Jan. 9, 2023). The Court later granted a TRO enjoining New Jersey’s post-Bruen expansion
of “sensitive places” to parks, beaches, recreational facilities/areas, and casinos. Siegel v. Platkin,
No. CV 22-7464 (RMB/AMD), 2023 WL 1103676 (D.N.J. Jan. 30, 2023).
City may prohibit firearms on at least some city property. California Rifle & Pistol Ass’n, Inc. v. City
of Glendale, No. 2:22-CV-07346-SB-JC, 2022 WL 18142541 (C.D. Cal. Dec. 5, 2022).
New York may not prohibit the carrying in houses of worship. Spencer v. Nigrelli, No. 22-CV-6486
(JLS), 2022 WL 17985966 (W.D.N.Y. Dec. 29, 2022); Hardaway v. Nigrelli, No. 22-CV-771 (JLS),
2022 WL 16646220 (W.D.N.Y. Nov. 3, 2022) (PI granted); Hardaway v. Nigrelli, No. 22-CV-771
(JLS), 2022 WL 11669872, at *1 (W.D.N.Y. Oct. 20, 2022) (TRO granted).

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New York’s prohibition on carrying firearms on private property is unconstitutional. Christian v.
Nigrelli, No. 22-CV-695 (JLS), 2022 WL 17100631 (W.D.N.Y. Nov. 22, 2022).
Preliminary injunction granted against New York’s “good moral character” requirement for gun
license, requirement that license applicants to provide list of family members and cohabitants
violated Second Amendment, requirement that license applicants provide list of social media
accounts for prior three years, requirement that applicants provide “such other information
required by the licensing officer,” prohibition against possession of firearms in places of worship,
prohibition against possession of firearms at gatherings of individuals to express their rights to
protest or assemble, and prohibition against possession of firearms “on or in private property
where … owner or lessee … has not permitted such possession by clear and conspicuous signage”
Antonyuk v. Hochul, No. 122CV0986GTSCFH, 2022 WL 16744700 (N.D.N.Y. Nov. 7, 2022).
Preliminary injunction denied against New York’s requirement of 18-hour in-person live firearms
safety course and prohibition against possession of firearms in nursery schools and preschools.
Antonyuk v. Hochul, No. 122CV0986GTSCFH, 2022 WL 16744700 (N.D.N.Y. Nov. 7, 2022).
TRO granted against New York’s requirement that license applicants meet in-person with
licensing officer, prohibition of concealed carry in summer camps, and prohibition of firearms in
Times Square in New York City. Antonyuk v. Hochul, No. 122CV0986GTSCFH, 2022 WL
5239895 (N.D.N.Y. Oct. 6, 2022).
Preliminary injunction granted against Delaware’s statutes prohibiting possession of unfinished
firearm frames and receivers and untraceable firearms and prohibiting manufacturing of
untraceable firearms. Rigby v. Jennings, No. CV 21-1523 (MN), 2022 WL 4448220 (D. Del. Sept.
23, 2022).
Preliminary injunction denied against Delaware’s statutes making it unlawful for all but federally
licensed gun dealers or manufacturers to sell firearms. Rigby v. Jennings, No. CV 21-1523 (MN),
2022 WL 4448220 (D. Del. Sept. 23, 2022).
Bruen does not apply to California law prohibiting any persons in the State of California – other
than federally-licensed firearms manufacturers or importers – from using, possessing, selling, or
transferring a computerized numerical code (“CNC”) milling machine that has a sole or primary
purpose of manufacturing firearms. Def. Distributed v. Bonta, No. CV 22-6200-GW-AGRX, 2022
WL 15524977, at *1 (C.D. Cal. Oct. 21, 2022), adopted, No. CV 22-6200-GW-AGRX, 2022 WL
15524983 (C.D. Cal. Oct. 24, 2022).
California law requiring certain data about firearm incidents be reported is constitutional post-
Bruen. Doe v. Bonta, No. 22-CV-10-LAB-DEB, 2023 WL 187574 (S.D. Cal. Jan. 12, 2023).
California’s good-cause requirement for a license to carry is unconstitutional, but the rest of the
licensing scheme is constitutional. People v. Velez, 85 Cal. App. 5th 957, 302 Cal. Rptr. 3d 88, 104
(2022); People v. Alvarado, No. F081842, 2022 WL 17369327 (Cal. Ct. App. Dec. 2, 2022), as
modified (Dec. 14, 2022); Dykes v. Broomfield, No. 11-CV-04454-SI, 2022 WL 4227241, at *4
(N.D. Cal. Sept. 13, 2022).
New York’s proper-cause requirement for a license to carry is unconstitutional but the rest of the
licensing scheme is constitutional. People v. Brundige, No. 71665-22/001, 2023 WL 1490146 (N.Y.
Sup. Ct. Feb. 2, 2023).
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Maryland’s “good and substantial reason” requirement for a firearm permit is unconstitutional.
Matter of Rounds, 255 Md. App. 205, 279 A.3d 1048 (2022).
New York crime of possession of unlicensed firearm survives Bruen, where defendant could not
show that he requested a license but was denied. People v. Williams, 76 Misc. 3d 925, 931, 175
N.Y.S.3d 673, 677 (N.Y. Sup. Ct. 2022); People v. Rodriguez, 76 Misc. 3d 494, 499, 171 N.Y.S.3d
802, 806 (N.Y. Sup. Ct. 2022).
A court denied a preliminary injunction against California statute prohibiting open carry, but
ordered the parties to brief Bruen. Baird v. Bonta, No. 2:19-CV-00617-KJM-AC, 2022 WL
17542432 (E.D. Cal. Dec. 8, 2022).
Restriction in lease of government-subsidized housing on possessing firearms was
unconstitutional. Columbia Hous. & Redevelopment Corp. v. Braden, No. M202100329COAR3CV,
2022 WL 727567 (Tenn. Ct. App. Oct. 13, 2022)
Remand for briefing in light of Bruen regarding whether Illinois law regarding how firearms are
stored in foster homes is constitutional. Miller v. Smith, No. 22-1482, 2023 WL 334788 (7th Cir.
Jan. 20, 2023).




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                                     Respectfully submitted,

KEN PAXTON                                          /s/ Tony K. McDonald
Attorney General of Texas                           TONY K. MCDONALD
                                                    State Bar No. 24083477
BRENT WEBSTER
First Assistant Attorney General                    GARRETT MCMILLAN
                                                    State Bar No. 24116747
GRANT DORFMAN
Deputy First Assistant Attorney General
                                                    THE LAW OFFICES OF TONY MCDONALD
AARON F. REITZ                                      1501 Leander Dr., Suite B2
Deputy Attorney General for Legal Strategy          Leander, Texas 78641
State Bar No. 24105704                              (512) 200-3608 • fax (815) 550-1292
                                                    tony@tonymcdonald.com
/s/ Charles K. Eldred
CHARLES K. ELDRED                                   WARREN V. NORRED
Special Counsel for Legal Strategy                  State Bar No. 24045094
State Bar No. 00793681
                                                    NORRED LAW, PLLC
JOHNATHAN STONE                                     515 E. Border Street
Assistant Attorney General                          Arlington, Texas 76010
General Litigation Division                         (817) 704-3984 • fax (817) 524-6686
State Bar No. 24071779                              warren@norredlaw.com

OFFICE OF THE ATTORNEY GENERAL OF TEXAS
P. O. Box 12548
Austin, Texas 78711-2548
(512) 936-1706 • fax (512) 320-0167
charles.eldred@oag.texas.gov

Attorneys for Ken Paxton,                           Attorneys for David Schnitz,
Attorney General of Texas                           Tracy Martin, and Floice Allen


                              CERTIFICATE OF SERVICE

       We certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on February 9, 2023.

                                                    /s/ Charles K. Eldred /s/ Tony K. McDonald
                                                    Charles K. Eldred     Tony K. McDonald



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